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     SPHERION STAFFING, LLC
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 8
                                  UNITED STATES DISTRICT COURT
 9
                             CENTRAL DISTRICT OF CALIFORNIA
10
11   CODY NUTE, individually,                          Case No. 2:21-cv-7844
12                   Plaintiff,                        (Los Angeles Superior Court Case
                                                       No. 21STCV17360)
13            v.
                                                       DEFENDANT’S NOTICE OF
14   PERKINELMER, INC., a                              REMOVAL OF CIVIL ACTION TO
     MASSACHUSETTS corporation; and                    UNITED STATES DISTRICT
15   DOES 1 through 50, inclusive,                     COURT PURSUANT TO
                                                       DIVERSITY OF CITIZENSHIP,
16                   Defendants.                       FEDERAL QUESTION AND
                                                       SUPPLEMENTAL JURISDICTION
17                                                     [28 U.S.C. SECTIONS 1331, 1332,
                                                       1367 AND 1441]
18
                                                       Complaint Filed:    May 7, 2021
19                                                     Trial Date:         None Set
20
21   TO THE UNITED STATES DISTRICT COURT FOR THE CENTRAL DISTRICT
22   OF CALIFORNIA AND TO PLAINTIFF AND HIS ATTORNEYS OF RECORD:
23            PLEASE TAKE NOTICE that Defendant SPHERION STAFFING, LLC
24   (“Spherion”) hereby files this Notice of Removal pursuant to 28 U.S.C. sections 1331,
25   1332, 1367 and 1441(a) and (b), based on diversity of citizenship jurisdiction, in order to
26   effectuate the removal of the above-captioned action from the Superior Court of the State
27
28
     DEFENDANT’S NOTICE OF REMOVAL OF CIVIL ACTION TO UNITED STATES DISTRICT COURT PURSUANT
          TO DIVERSITY OF CITIZENSHIP JURISDICTION [28 U.S.C. SECTIONS 1331, 1332, 1367 AND 1441]
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 1   of California, County of Los Angeles, to the United States District Court for the Central
 2   District of California, and state that removal is proper for the following reasons:
 3   I.       BACKGROUND
 4            1.   On May 7, 2021, Plaintiff Cody Nute (“Plaintiff”) filed a Complaint in the
 5   Superior Court of the State of California, County of Los Angeles, entitled, Cody Nute,
 6   individually v. PerkinElmer, Inc., a Massachusetts corporation; and DOES 1 through 50,
 7   inclusive, designated as Case No. 21STCV17360. In the Complaint, Plaintiff alleged four
 8   causes of action against PerkinElmer: (1) Wrongful Termination; (2) Violation of Fair
 9   Labor Standards Act/Families First Coronavirus Relief act; (3) Failure to Timely Provide
10   Employment Records; and (4) Failure to Timely Provide Pay Records.
11            2.   On June 11, 2021, a dismissal of the Complaint was entered as to
12   PerkinElmer, without prejudice.
13            3.   On June 22, 2021, Plaintiff filed an Amendment to Complaint
14   (Fictitious/Incorrect Name) substituting Defendant Spherion Staffing, LLC (“Defendant”
15   or “Spherion”), in for a Doe defendant.
16            4.   On September 3, 2021, Plaintiff personally served Spherion with the
17   Summons and Complaint. True and correct copies of the Summons, Complaint, Civil
18   Cover Sheet, Request for Dismissal of Complaint, and Amendment to Complaint served
19   on Spherion are attached as Exhibit 1 (hereinafter “Complaint”).
20            5.   On September 29, 2021, Spherion filed an Answer to the Complaint in Los
21   Angeles County Superior Court. A true and correct copy of Spherion’s Answer filed in
22   Los Angeles County Superior Court is attached as Exhibit 2.
23            6.   Exhibits 1 and 2 constitute all of the pleadings served on Spherion and/or
24   filed by Spherion in the state court action prior to filing this Notice of Removal.
25   (Declaration of Sumithra R. Roberts [“Roberts Dec.”] ¶ 3.) As of the time of this
26   Removal, there are no pending hearings currently scheduled in the Los Angeles County
27   Superior Court in the state court action. (Roberts Dec. ¶ 3.)
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     DEFENDANT’S NOTICE OF REMOVAL OF CIVIL ACTION TO UNITED STATES DISTRICT COURT PURSUANT
          TO DIVERSITY OF CITIZENSHIP JURISDICTION [28 U.S.C. SECTIONS 1331, 1332, 1367 AND 1441]
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 1   II.      TIMELINESS OF REMOVAL
 2            7.    This notice of removal is timely as it is filed less than one year from the date
 3   this action was commenced and within thirty days of the service of the Summons and
 4   Complaint upon the moving defendant. 28 U.S.C. § 1446(b); Murphy Bros., Inc. v.
 5   Michetti Pipe Stringing, Inc., 119 S. Ct. 1322 (1999) (thirty-day deadline to remove
 6   commences upon service of the summons and complaint); see also 28 U.S.C. §
 7   1446(b)(2) (later-served defendant has a right of removal separate from that of an earlier-
 8   served defendant). (Roberts Dec. ¶ 3, Ex. 1.)
 9   III.     JURISDICTION BASED ON DIVERSITY OF CITIZENSHIP
10            8.    The Court has original jurisdiction of this action under 28 U.S.C. section
11   1332(a)(1). As set forth below, this action is removable pursuant to 28 U.S.C. section
12   1441(a) as the amount in controversy is in excess of $75,000, exclusive of interest and
13   costs, and is between citizens of different states.
14            9.    Plaintiff’s Citizenship. “An individual is a citizen of the state in which he is
15   domiciled ….” Boon v. Allstate Ins. Co., 229 F. Supp. 2d 1016, 1019 (C.D. Cal. 2002)
16   (citing Kanter v. Warner-Lambert Co., 265 F.3d 853, 857 (9th Cir. 2001)). For purposes
17   of diversity jurisdiction, citizenship is determined by the individual’s domicile at the time
18   that the lawsuit is filed. Armstrong v. Church of Scientology Int’l, 243 F.3d 546, 546 (9th
19   Cir. 2000) (citing Lew v. Moss, 797 F.2d 747, 750 (9th Cir. 1986)). A person’s domicile
20   is the place he or she resides with the intent to remain indefinitely. Kanter v. Warner-
21   Lambert Co., 265 F.3d 853, 857 (9th Cir. 2001). Residence is prima facie evidence of
22   domicile. State Farm Mut. Auto Ins. Co. v. Dyer, 19 F.3d 514, 520 (10th Cir. 1994)
23   (holding that “the place of residence is prima facie [evidence of] domicile”). Further,
24   evidence of continuing residence creates a presumption of domicile. Washington v.
25   Havensa LLC, 652 F.3d 340, 345 (3d Cir. 2011).
26            10.   At the time Plaintiff filed this civil action, Plaintiff alleged that he was at all
27   times relevant to the Complaint a resident of the County of Los Angeles in the State of
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     DEFENDANT’S NOTICE OF REMOVAL OF CIVIL ACTION TO UNITED STATES DISTRICT COURT PURSUANT
          TO DIVERSITY OF CITIZENSHIP JURISDICTION [28 U.S.C. SECTIONS 1331, 1332, 1367 AND 1441]
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 1   California. (Roberts Dec. ¶ 3, Ex. 1, Compl. ¶ 2.) Plaintiff was employed by Spherion
 2   within the State of California from approximately November 2020 until January 2021, as
 3   a temporary worker, and was assigned to work at PerkinElmer within the State of
 4   California from November 2020 until December 2020. (Roberts Dec. ¶ 3, Ex. 1, Compl. ¶
 5   7, Declaration of Karen Lubrano [“Lubrano Dec.”], ¶ 4.) Plaintiff’s home address during
 6   the period when he worked for Spherion was always within the State of California.
 7   (Lubrano Dec. ¶ 5.) There are no documents in Plaintiff’s personnel file to suggest in any
 8   way that he is currently, or during the periods of his employment was, a resident or
 9   citizen of any state other than California. (Id.) Additionally, a background check
10   conducted on September 30, 2021, indicates no residence addresses attributed to Plaintiff
11   that are outside the State of California. (Roberts Dec., ¶ 4, Ex. 3, Lexis Nexis Public
12   Records search, redacted)
13            11.   Spherion’s Citizenship. In a removal, a limited liability company is treated
14   as a partnership for purposes of diversity, and citizenship depends on the citizenship of its
15   members. Johnson v. Columbia Props. Anchorage, LP, 437 F.3d 894, 899 (9th Cir.
16   2006).
17            12.   A corporation is deemed to be a citizen of any state in which it has been
18   incorporated and of any state where it has its principal place of business. 28 U.S.C. §
19   1332(c)(1). The “principal place of business” for the purpose of determining diversity
20   subject matter jurisdiction refers to “the place where a corporation’s officers direct,
21   control, and coordinate the corporation’s activities .… [I]n practice it should normally be
22   the place where the corporation maintains its headquarters-provided that the headquarters
23   is the actual center of direction, control, and coordination, i.e., the ‘nerve center,’ and not
24   simply an office where the corporation holds its board meetings[.]” See Hertz Corp. v.
25   Friend, 559 U.S. 77, 92-93, 130 S.Ct. 1181, 1192 (2010).
26            13.   Spherion’s sole member is SFN Group, LLC. SFN Group, LLC’s sole
27   member is Randstad North America, Inc. (“Randstad”). (Lubrano Dec. ¶ 6.)
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     DEFENDANT’S NOTICE OF REMOVAL OF CIVIL ACTION TO UNITED STATES DISTRICT COURT PURSUANT
          TO DIVERSITY OF CITIZENSHIP JURISDICTION [28 U.S.C. SECTIONS 1331, 1332, 1367 AND 1441]
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 1            14.   Randstad is and was at the time the civil action was instituted a corporation
 2   organized under the laws of Delaware. (Lubrano Dec. ¶ 7.)
 3            15.   Further, Randstad’s headquarters—where its high-level officers direct,
 4   control, and coordinate the corporation’s activities— is located in Atlanta, Georgia.
 5   (Lubrano Dec. ¶ 8.) The majority of Randstad’s executive and administrative functions
 6   take place at its headquarters in Atlanta, Georgia. (Id.) All of Randstad’s executives have
 7   offices in, and regularly work from, these headquarters. (Id.) The functions performed at
 8   Randstad’s Atlanta, Georgia, headquarters include the activities of all of its high-level
 9   management team, and the majority of its administrative functions, including payroll,
10   accounting, purchasing, marketing, legal, human resources, and information systems.
11   (Id.) Randstad’s company-wide policies and procedures are formulated at the Atlanta,
12   Georgia headquarters. (Id.) Randstad’s activities and operations are directed and
13   ultimately controlled from the Atlanta, Georgia headquarters, such that its principal place
14   of business is Georgia. (Id.) Thus, Randstad is a citizen of Georgia and Delaware, not
15   California.
16            16.   Accordingly, because Randstad is a citizen of Georgia and Delaware,
17   Defendant Spherion Staffing, LLC, is a citizen of Georgia and Delaware, not California.
18   Thus, the requisite diversity of citizenship exists as to Spherion. See 28 U.S.C. §
19   1332(c)(1).
20            17.   Further, in compliance with 28 U.S.C. section 1441(b), “none of the parties
21   in interest properly joined and served as defendant is a citizen of the State in which [this]
22   action is brought.” Pursuant to 28 U.S.C. section 1441(a), the citizenship of defendants
23   sued under fictitious names shall be disregarded. The inclusion of “Doe” defendants in
24   Plaintiff’s state court complaint has no effect on removability. Newcombe v. Adolf Coors
25   Co., 157 F.3d 686, 690-91 (9th Cir. 1998); 28 U.S.C. § 1441 (a) (stating that for purposes
26   of removal, the citizenship of defendants sued under fictitious names shall be
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     DEFENDANT’S NOTICE OF REMOVAL OF CIVIL ACTION TO UNITED STATES DISTRICT COURT PURSUANT
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 1   disregarded). In determining whether diversity of citizenship exists, only the named
 2   defendants are considered. Id.
 3            18.   Amount in Controversy. While Spherion denies any liability as to
 4   Plaintiff’s claims, the amount in controversy requirement for diversity jurisdiction is
 5   satisfied because “it is more likely than not” that the amount exceeds the jurisdictional
 6   minimum of $75,000. 28 U.S.C. § 1332(a)(1); see Sanchez v. Monumental Life Ins. Co.,
 7   102 F.3d 398, 404 (9th Cir. 1996) (where a plaintiff’s state court complaint does not
 8   specify a particular amount of damages, the defendant must provide evidence establishing
 9   that it is “more likely than not” that the amount in controversy exceeds the requisite
10   threshold).
11            19.   Where a complaint does not allege a specific amount in damages, the
12   removing defendant bears the burden of proving by a preponderance of the evidence that
13   the amount in controversy exceeds the statutory minimum. Abrego v. The Dow Chem.
14   Co., 443 F.3d 676, 683 (9th Cir. 2006); Guglielmino v. McKee Foods Corp., 506 F.3d
15   696, 701 (9th Cir. 2007). Further, “the amount-in-controversy inquiry in the removal
16   context is not confined to the face of the complaint.” Valdez v. Allstate Ins. Co., 372 F.3d
17   1115, 1117 (9th Cir. 2004) (finding that a court may consider facts presented in the
18   removal petition). When the amount in controversy is not apparent from the face of the
19   complaint, a defendant may set forth underlying facts supporting its assertion that the
20   amount in controversy exceeds the jurisdictional threshold. Id.; see also Gaus v. Miles,
21   Inc., 980 F.2d 564, 566-67 (9th Cir. 1992).
22            20.   As the Supreme Court has explained, “a defendant’s notice of removal need
23   only include a plausible allegation that the amount in controversy exceeds the
24   jurisdictional threshold.” Dart Cherokee Basin Operating Co., LLC v. Owens, 135 S. Ct.
25   547, 553-54 (2014) (“[W]hen a defendant seeks federal-court adjudication, the
26   defendant’s amount-in-controversy allegation should be accepted when not contested by
27   the plaintiff or questioned by the court.”); see also Valdez, 372 F.3d at 1117 (“the parties
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     DEFENDANT’S NOTICE OF REMOVAL OF CIVIL ACTION TO UNITED STATES DISTRICT COURT PURSUANT
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 1   need not predict the trier of fact’s eventual award with one hundred percent accuracy”).
 2   Spherion is not obligated to “research, state, and prove the plaintiff’s claims for
 3   damages.” Behrazfar v. Unisys Corp., 687 F. Supp. 2d 999, 1004 (C.D. Cal. 2009)
 4   (quoting Korn v. Polo Ralph Lauren Corp., 536 F. Supp. 2d 1199, 1204-05 (E.D. Cal.
 5   2008)); Rippee v. Boston Market Corp., 408 F. Supp. 2d 982, 986 (S.D. Cal. 2005)
 6   (noting that the inquiry is “what is in controversy” by the plaintiff’s complaint, not what a
 7   defendant will actually owe).
 8            21.   In determining whether a complaint meets the $75,000 threshold under 28
 9   U.S.C. section 1332(a), the Court must consider a plaintiff’s alleged aggregate general
10   damages, special damages, punitive damages, and attorneys’ fees. See Galt G/S v. JSS
11   Scandinavia, 142 F.3d 1150, 1156 (9th Cir. 1998) (claims for statutory attorneys’ fees
12   may be included in amount in controversy, regardless of whether such an award is
13   discretionary or mandatory); Davenport v. Mutual Benefit Health & Accident Ass’n, 325
14   F.2d 785, 787 (9th Cir. 1963) (punitive damages may be taken into account in
15   determining amount in controversy where recoverable under state law); Conrad Assocs.
16   v. Hartford Accident & Indemnity Co., 994 F. Supp. 1196, 1198 (N.D. Cal. 1998)
17   (“amount in controversy” includes claims for general and special damages).
18            22.   The calculations supporting the amount in controversy are based on
19   Plaintiff’s potential recovery pursuant to the claims alleged in the Complaint, assuming,
20   without any admission, the truth of any of the allegations, and assuming liability (which
21   is disputed) based on Plaintiff’s theory of recovery.
22            23.   Economic Damages. In his Complaint, Plaintiff seeks to recover special
23   damages and compensatory damages including “lost wages and other special, general and
24   compensatory damages in an amount according to proof.” (Roberts Dec. ¶ 3, Ex. 1,
25   Compl., Prayer for Relief, No. 3.) Plaintiff’s Complaint alleges claims for wrongful
26   termination and related claims.
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     DEFENDANT’S NOTICE OF REMOVAL OF CIVIL ACTION TO UNITED STATES DISTRICT COURT PURSUANT
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 1            24.   Plaintiff alleges he was employed by Defendant until December 29, 2020.
 2   (Roberts Dec. ¶ 3, Ex. 1, Compl. ¶ 3.) At that time, Plaintiff was employed by Spherion
 3   and assigned to PerkinElmer, and working an average of 37 hours per week, earning
 4   $29.90 per hour. (Lubrano Dec. ¶ 9.) Conservatively estimating a June 2022 trial date
 5   (twelve months after the Complaint was amended to name Spherion), Plaintiff’s past lost
 6   wages alone would amount to approximately $86,291, i.e., eighteen months between his
 7   alleged termination and trial.1
 8            25.   In addition to back pay, a plaintiff who prevails on a claim for wrongful
 9   termination or retaliatory discharge of employment may be entitled to either
10   reinstatement or an award of “front pay” in lieu of reinstatement. See, e.g., Cassino v.
11   Reichhold Chemicals, Inc., 817 F.2d 1338, 1346 (9th Cir. 1997) (stating that a court has
12   discretion to award front pay in lieu of reinstatement); Secru v. Laboratory Corp. of
13   America, No. 3:09–cv–0619–LRH–RAM, 2009 WL 3755763, at * 2, n.3 (D. Nev. Nov.
14   9, 2009) (future lost wages alone can satisfy amount in controversy); James v. Childtime
15   Childcare, Inc., No. Civ. S-06-2676 DFL DAD, 2007 WL 1589543, at *2, n.1 (E.D. Cal.
16   June 1, 2007) (while courts evaluate the amount in controversy at the time of removal,
17   future lost wages are properly considered in that calculation); see also Crum v. Circus
18   Circuit Enters., 231 F.3d 1129, 1131 (9th Cir. 2000) (future damages are properly
19   considered in determining amount in controversy).
20            26.   An award of three years’ front pay would entitle Plaintiff to more than
21   $172,583 in additional recovery. See Traxler v. Multnomah Cty., 569 F.3d 1007, 1015
22   (9th Cir. 2010) (upholding district court’s decision to award nearly four years’ front pay
23   in a wrongful termination suit); see also Glenn-Davis v. City of Oakland, No. C 02-2257
24   SI, 2008 WL 410239, *4 (N.D. Cal. 2008) (finding three years of front pay “appropriate”
25   in a discrimination suit); Ackerman v. Western Elec. Co., Inc., 643 F. Supp. 836, 856
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27   1
      Approximately $57,528 per year, $29.90 per hour x 37 hours per week x 52 weeks per
28   year x 1.5 years.
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     DEFENDANT’S NOTICE OF REMOVAL OF CIVIL ACTION TO UNITED STATES DISTRICT COURT PURSUANT
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 1   (N.D. Cal. 1986) (same). Thus, Plaintiff’s allegations of total lost wages alone exceed
 2   $258,874.
 3            27.   Emotional Distress Damages. In addition to special/economic damages,
 4   Plaintiff also seeks general (i.e., emotional distress damages). (Roberts Dec. ¶ 3, Ex. 1,
 5   Compl., Prayer for Relief, No. 1.) While Plaintiff does not plead the specific details of
 6   his alleged emotional distress damages, in cases alleging discrimination and/or
 7   retaliation, the emotional distress damages award, alone, often exceeds the $75,000
 8   amount in controversy requirement. In Thompson v. Big Lots Stores, Inc., 2017 U.S.
 9   Dist. LEXIS 20094, *12-13 (E.D. Cal. 2017), the Eastern District of California made
10   clear that “[i]n determining the amount in controversy, the court may assess likely
11   emotional distress damages by reference to damages awards in similar discrimination
12   cases.” Applying that rule, the Thompson court found the defendant met its burden of
13   showing that damages awards for emotional distress in analogous cases are often
14   substantial, where the defendant pointed to a jury award of $122,000 in emotional
15   distress damages to an employee who sued for pregnancy discrimination and wrongful
16   termination. See id. at *12-13. In fact, such damages may far exceed $122,000. For
17   example, in Elliott v. City of Gardena, 2001 WL 1255712 (Los Angeles County Sup. Ct.,
18   July 23, 2001), the jury awarded the plaintiff in a discrimination case $1,650,000 where
19   the plaintiff’s only claimed injury was emotional distress damages. In Comey v. County
20   of Los Angeles, 2007 WL 3022474 (Los Angeles County Sup. Ct., Aug. 15, 2007), the
21   jury awarded a plaintiff in a discrimination case $768,286, of which $100,000 was for
22   non-economic damages. See also Conney v. University of California Regents, 2004 WL
23   1969934 (Los Angeles County Sup. Ct., July 27, 2004) ($300,000 in past non-economic
24   damages and $600,000 in future non-economic damages awarded to plaintiff claiming
25   discrimination and retaliation); Kell v. AutoZone Inc., No. 07AS04375, 2010 WL
26   1347162 (Sacramento Sup. Ct., Jan. 21, 2010) (jury awarded $1,368,675 in damages for
27   wrongful termination and retaliation claims); Aboulafia v. GACN Inc., No. BC469940,
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     DEFENDANT’S NOTICE OF REMOVAL OF CIVIL ACTION TO UNITED STATES DISTRICT COURT PURSUANT
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 1   2013 WL 8115991 (Los Angeles Sup. Ct., Sept. 23, 2011) (pain and suffering award of
 2   $250,000, $250,000, $250,000, and $250,267 to four employees in discrimination action).
 3   These awards demonstrate that, for diversity purposes, the value of Plaintiff’s emotional
 4   distress damages exceeds the $75,000 amount in controversy requirement.
 5            28.   Attorney’s Fees. Plaintiff claims statutory entitlement to attorney’s fees.
 6   (Roberts Dec. ¶ 3, Ex. 1, Compl., Prayer for Relief, No. 5.) Attorney’s fees are properly
 7   considered in calculating the amount-in-controversy for purposes of removal on grounds
 8   of diversity jurisdiction. Galt, 142 F.3d at 1156 (claims for statutory attorney’s fees to be
 9   included in amount in controversy, regardless of whether such an award is discretionary
10   or mandatory). The amount of attorney’s fees for purposes of amount in controversy
11   calculations is the expected reasonable attorney’s fees through trial. Fritsch v. Swift
12   Transp., 899 F. 3d 785, 794 (9th Cir. 2018) (“a court must include future attorneys’ fees
13   recoverable by statute or contract when assessing whether the amount-in-controversy
14   requirement is met.”). Under Section 5104 of the Families First Coronavirus Response
15   Act (“FFCRA”), an employer who terminates an employee for taking sick leave pursuant
16   to the FFCRA is liable for a violation of 29 U.S.C. § 215(a)(3) and is liable for the
17   penalties provided in 29 U.S.C. §§ 216 and 217, which includes attorney’s fees. Plaintiff
18   asserts a cause of action for Violation of the FFCRA, here. (Roberts Dec. ¶ 3, Ex. 1,
19   Compl., Second Cause of Action.)
20            29.   Spherion anticipates that the Parties will propound written discovery, that
21   depositions will be taken in this case, and that Spherion will file a Motion for Summary
22   Judgment. (Roberts Dec. ¶ 5.) Here, if Plaintiff prevails, he could be entitled to an award
23   of attorney’s fees that alone are “more likely than not” to exceed $75,000, as is typical in
24   employment cases. The reasonable amount of attorney’s fees for amount in controversy
25   purposes may be based upon fee awards in similar cases. Lyon v. W.W. Grainger Inc.,
26   2010 WL 1753194, at *5 (N.D. Cal. Apr. 29, 2010) (“Defendant’s use of similar cases to
27   estimate the cost of attorney’s fees is sufficient to establish that its estimate is more likely
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 1   than not correct.”); Brady v. Mercedes-Benz USA, Inc., 243 F. Supp. 2d 1004, 1010-11
 2   (2002) (relying on evidence of fee awards in similar cases to determine a reasonable
 3   estimate of attorney’s fees). Verdicts show that attorney’s fees in employment
 4   discrimination and/or retaliation cases typically exceed $75,000. See Denenberg v.
 5   California Dep’t of Trans., 2007 WL 2827715 (San Diego County Sup. Ct., Sept. 14,
 6   2006) (attorney’s fees award of $490,000 in case alleging discrimination, harassment, and
 7   retaliation); McMillan v. City of Los Angeles, 2005 WL 3729094 (Los Angeles County
 8   Sup. Ct., Mar. 21, 2005) (attorney’s fees award of $504,926 in case alleging
 9   discrimination and retaliation for filing lawsuit to redress discrimination); Gallegos v. Los
10   Angeles City College, 2003 WL 23336379 (Los Angeles County Sup. Ct., Oct. 16, 2003)
11   (attorney’s fees award of $159,277 for claims of discrimination and retaliation). Finally,
12   it is extremely unlikely that Plaintiff’s counsel would seek less than $75,000 in attorney’s
13   fees for a jury trial of the wrongful termination and FFCRA claims alleged in the
14   Complaint. If Plaintiff’s counsel is seeking less than $75,000 in fees, Spherion invites
15   them to stipulate to this fact for purposes of this case.
16            30.   Punitive Damages. Plaintiff also seeks punitive damages in the Complaint.
17   (Roberts Dec. ¶ 3, Ex. 1, Compl., Prayer for Relief, No. 4.) The Court must also consider
18   Plaintiff’s request for punitive damages in determining the amount in controversy.
19   Davenport v. Mutual Benefit Health and Accident Ass’n, 325 F.2d 785, 787 (9th Cir.
20   1963) (punitive damages must be taken into account where recoverable under state law).
21   Courts have affirmed jury verdicts exceeding $1 million in punitive damages in alleged
22   wrongful termination in violation of public policy cases. See, e.g., Roby v. McKesson
23   Corp., 47 Cal. 4th 686 (2009).
24            31.   In sum, Plaintiff’s aggregated recovery on his claims, including
25   compensatory damages such as lost wages and emotional distress damages, attorney’s
26   fees, and punitive damages, satisfies the $75,000 jurisdictional threshold. While Spherion
27   denies any liability as to Plaintiff’s claims, it is “more likely than not” that the amount in
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     DEFENDANT’S NOTICE OF REMOVAL OF CIVIL ACTION TO UNITED STATES DISTRICT COURT PURSUANT
          TO DIVERSITY OF CITIZENSHIP JURISDICTION [28 U.S.C. SECTIONS 1331, 1332, 1367 AND 1441]
     75585800v.3
         Case 2:21-cv-07844 Document 1 Filed 10/01/21 Page 12 of 51 Page ID #:12



 1   controversy in this action exceeds $75,000, exclusive of interest and costs, as required by
 2   28 U.S.C. section 1332(a).
 3            32.   Because diversity of citizenship exists between Plaintiff and Spherion, and
 4   the matter in controversy between the Parties exceeds $75,000, this Court has original
 5   jurisdiction of the action pursuant to 28 U.S.C. section 1332(a)(1) and removal is proper.
 6            JURISDICTION BASED ON EXISTENCE OF FEDERAL QUESTION
 7            33.   The Court also has original jurisdiction of this action under 28 U.S.C.
 8   section 1331. Any civil action commenced in state court is removable if it might have
 9   been originally brought in federal court. See 28 U.S.C. § 1441; Exxon Mobil Corp. v.
10   Allapattach Servs., Inc., 545 U.S. 546, 563-64 (2005) (“district court has original
11   jurisdiction of a civil action for purposes of section 1441(a) as long as it has original
12   jurisdiction over a subset of claims constituting the action”). This Court has original
13   jurisdiction of this action under 28 U.S.C. section 1331, and Defendant may remove the
14   lawsuit pursuant to the provisions of 28 U.S.C.section 1441, since Plaintiff’s claims arise
15   under the Families First Coronoavirus Response Act, 29 C.F.R. section 826 (“FFCRA”).
16            34.   Specifically, as a basis for his claims, Plaintiff alleges that he took a leave of
17   absence after his son was ill from potential complications from COVID-19 and then
18   Plaintiff was ordered to self-quarantine as a result. (Roberts Dec. ¶ 3, Ex. 1, Compl. ¶ 7).
19   Plaintiff’s First and Second Cause of Action specifically allege that his termination was
20   due to his exercise of his rights under the FFCRA and seek relief pursuant to 29 C.F.R.
21   section 826. (Roberts Dec. ¶ 3, Ex. 1, Compl. ¶¶ 11-29.).
22            35.   Consequently, this action is removable based on federal question
23   jurisdiction. See Vaden v. Discover Bank, 556 U.S. 49, 59-60 (2009) (a suit arises under
24   federal law when “the plaintiff’s statement of his own cause of action shows that it is
25   based upon [federal law]”); Abada v. Charles Schwab & Co., 300 F.3d 1112, 1118 (9th
26   Cir. 2002) (“The presence or absence of federal-question jurisdiction is governed by the
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     DEFENDANT’S NOTICE OF REMOVAL OF CIVIL ACTION TO UNITED STATES DISTRICT COURT PURSUANT
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 1   ‘well-pleaded complaint rule,’ which provides that federal jurisdiction exists only when a
 2   federal question is presented on the face of the plaintiff’s well-pleaded complaint.”)
 3            36.   Furthermore, the Court may exercise supplemental jurisdiction over
 4   Plaintiff’s remaining state law claims pursuant to 28 U.S.C. section 1367, because they
 5   “‘are so related to claims in the action within [the court's] original jurisdiction that they
 6   form part of the same case or controversy under Article III of the United States
 7   Constitution.’” NetApp, Inc. v. Nimble Storage, Inc., 41 F. Supp. 3d 816, 823 (N.D. Cal.
 8   2014)(quoting 28 U.S.C. 1367(a)). Moreover, the Court should not decline supplemental
 9   jurisdiction over the Complaint’s state law claims as the Third and Fourth causes of
10   action for failure to provide employment records do not “‘substantially [predominate]
11   over the claim or claims over which the district court has original jurisdiction.’” Id.
12   (citing 28 U.S.C. 1367(c)(2)); Albingia Versicherungs A.G. v. Schenker Int'l Inc., 344
13   F.3d 931, 937-38 (9th Cir. 2003). In exercising its discretion to retain or decline
14   supplemental jurisdiction, the Court “should consider factors such as “economy,
15   convenience, fairness, and comity.” Acri v. Varian Assocs., 114 F.3d 999, 1001 (9th
16   Cir.1997) (en banc). Accordingly, given the ancillary nature of the state law claims and
17   the fact that the issues that predominate in the Complaint are based on federal statutes
18   (FLSA and FFCRA), the Court should exercise supplemental jurisdiction over the
19   California Labor Code and public policy claims.
20   IV.      VENUE
21            37.   Venue lies in the United States District Court for the Central District of
22   California, pursuant to 28 U.S.C. sections 84(c)(2), 1441, and 1446(a) because this action
23   originally was brought in the Superior Court of the State of California, County of Los
24   Angeles. In addition, the action arose in the County of Los Angeles. Therefore, venue is
25   proper because it is the “district and division embracing the place where such action is
26   pending.” 28 U.S.C. § 1441(a).
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                                                   13
     DEFENDANT’S NOTICE OF REMOVAL OF CIVIL ACTION TO UNITED STATES DISTRICT COURT PURSUANT
          TO DIVERSITY OF CITIZENSHIP JURISDICTION [28 U.S.C. SECTIONS 1331, 1332, 1367 AND 1441]
     75585800v.3
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 1   V.       NOTICE OF REMOVAL TO PLAINTIFF AND THE SUPERIOR COURT
 2            38.   Pursuant to 28 U.S.C. section 1446(d), written notice of the filing of this
 3   Notice of Removal will be promptly served on Plaintiff and filed with the Clerk of the
 4   Superior Court of the State of California, County of Los Angeles.
 5            39.   This Notice of Removal will be served on counsel for Plaintiff. A copy of
 6   the Proof of Service regarding the Notice of Removal will be filed shortly after these
 7   papers are filed and served.
 8            40.   In compliance with 28 U.S.C. section 1446(a), true and correct copies of all
 9   process, pleadings, and orders filed and/or served in this action are attached as Exhibits 1
10   and 2. (Roberts Dec. ¶ 3.)
11   VI.      PRAYER FOR REMOVAL
12            Wherefore, Defendant Spherion Staffing, LLC, prays that this civil action be
13   removed from the Superior Court of the State of California, County of Los Angeles to the
14   United States District Court for the Central District of California.
15   DATED: September 30, 2021                          Respectfully submitted,
16                                                      SEYFARTH SHAW LLP
17
18                                                      By:
                                                              Jamie C. Pollaci
19                                                            Sumithra R. Roberts
                                                              Attorneys for Defendant
20                                                            SPHERION STAFFING, LLC
21
22
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                                                   14
     DEFENDANT’S NOTICE OF REMOVAL OF CIVIL ACTION TO UNITED STATES DISTRICT COURT PURSUANT
          TO DIVERSITY OF CITIZENSHIP JURISDICTION [28 U.S.C. SECTIONS 1331, 1332, 1367 AND 1441]
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                    EXHIBIT 1
             Case 2:21-cv-07844 Document 1 Filed 10/01/21 Page 16 of 51 Page ID #:16




                                                                                                                         null / ALL
                                                                                                     Transmittal Number: 23732971
Notice of Service of Process                                                                            Date Processed: 09/07/2021

Primary Contact:           Karen Lubrano
                           Randstad US - Spherion Corporation
                           2050 Spectrum Blvd
                           Fort Lauderdale, FL 33309-3008

Electronic copy provided to:                   Rob Calabro
                                               Jenna Debs

Entity:                                       Spherion Staffing LLC
                                              Entity ID Number 3086784
Entity Served:                                Spherion Staffing, LLC
Title of Action:                              Cody Nute vs. Perkinelmer, Inc
Matter Name/ID:                               Cody Nute vs. Perkinelmer, Inc (11541760)
Document(s) Type:                             Summons and Amended Complaint
Nature of Action:                             Wrongful Termination
Court/Agency:                                 Los Angeles County Superior Court, CA
Case/Reference No:                            21STCV17360
Jurisdiction Served:                          California
Date Served on CSC:                           09/03/2021
Answer or Appearance Due:                     30 Days
Originally Served On:                         CSC
How Served:                                   Personal Service
Sender Information:                           Douglas H. Hoang
                                              800-590-7674

Information contained on this transmittal form is for record keeping, notification and forwarding the attached document(s). It does not
constitute a legal opinion. The recipient is responsible for interpreting the documents and taking appropriate action.

                                   To avoid potential delay, please do not send your response to CSC
                    251 Little Falls Drive, Wilmington, Delaware 19808-1674 (888) 690-2882 | sop@cscglobal.com
                             Case 2:21-cv-07844 Document 1 Filed 10/01/21 Page 17 of 51 Page ID #:17
Electronically FILED by Superior Court of California, County of Los Angeles on 05/07/2021 03:57 PM Sherri R. Carter, Executive Officer/Clerk of Court, by R. Clifton,Deputy Clerk
                   ,                                                                  21STCV17360




                                                           SUMMONS                                                                                  FOR COURT USE ONLY
                                                                                                                                                (SOLO PARA USO DE LA CORTE)
                                                  (C/Ti4 C/ON JUDICIAL)
              NOTICE TO DEFENDANT:
              (AVISO AL DEMANDADO):
              PERKINELMER, INC., a MASSACHUSETTS corporation; and DOES 1 through 50, inclusive,

              YOU ARE BEING SUED BY PLAINTIFF:
              (LO ESTA DEMANDANDO EL DEMANDANTE):
              CODY NUTE, individually,
                                                            may decide agamst you witnout your deing neara urness you
               below.
                  You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
               served on the p]ain6ff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
               case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
               Online Self-Help Center (www.courtinio.ca.gov/selfhelp), your county law library, or the courthouse nearest you. If you cannot pay the ff[ing fee, ask the
               court c]erk for a fee waiver form. If you do not fi[e your response on time, you may lose the case by defau[t, and your wages, money, and property may
               be taken without further warning from the court.
                  There are other legal requirements. You may want to call an attorneylright away. If you do not know an attorney, you may want to call an attorney
               referral service. If you cannot afford an attomey, you may be eligible for free legal services from a nonprofit legal services program. You can locate
               these nonprofit groups at the California Legal Services Web site (www.lawhe/pcalifomia.org), the California Courts Online Self-Help Center
               (www.courtinfo.ca.gov/selfhelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
               costs on any sett]ement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
               iAVISO! Lo han demandado. Si no responde dentro de 30 dias, la corte puede decidir en su contra sin escuchar su versi6n. Lea la informacf6n a
               continuaci6n.
                  Tiene 30 DIAS DE CALENDARIO despues de que le entreguen esta citaci6n y papeles lega/es para presentar una respuesta por escrito en esta
               corte y hacer que se entregue una copia al demandante. Una carta o una Ilamada te/ef6nica no /o protegen. Su respuesta por escrito tiene que estar
               en formato lega/ correcto sl desea que procesen su caso en /a corte. Es posible que haya un formu/ario que usted pueda usar para su respuesta.
               Puede encontrarestos formularios de la corfe y mas informaci6n en e/ Centro de Ayuda de las Cortes de Califomia (www.sucorte.ca.gov), en la
               biblioteca de leyes de su condado o en la corte que /e quede mAs cerca. Si no puede pagar la cuota de presentaci6n, pida a/ secretario de /a corte que
               le de un formulario de exenci6n de pago de cuotas. Si no presenta su respuesta a tiempo, puede perder el caso por incumplimiento y la corte le podra
               quitar su sue/do, dinero y bienes sin mas advertencia.
                 Hay otros requisitos legales. Es recomendable que llame a un abogado inmediatamente. Si no conoce a un abogado, puede I/amar a un servicio de
               remisi6n a abogados. Si no puede pagar a un abogado, es posible que cump/a con /os requisitos para obtener servicfos legales gratuitos de un
               programa de servicios /ega/es sin ffnes de /ucro. Puede encontrar estos grupos sin fines de lucro en e/ sitio web de California Legal Services,
               (www.lawhelpcalifornia.org), en el Centro de Ayuda de las Coftes de California, (www.sucorte.ca.gov) o poniendose en contacto con /a corte o el
               co/egio de abogados loca/es. AVISO: Por ley, la corte tiene derecho a reclamar las cuotas y los costos exentos por imponer un gravamen sobre
               cualquierrecuperacf6n de $10,000 6 mAs de va/or recibida mediante unl acuerdo o una concesi6n de arbitraje en un caso de derecho civil. Tiene que
               pagar e/ gravamen de !a corte antes de que la corte pueda desechar el caso.
              The name and address of the court is:                                                                           CASE NUMBER: (Nrimero del Caso):
              (EI nombre y direcci6n de /a corte es): LOS ANGELES
              111 N. HIII St.
              Los Angeles, CA 90012
              The name, address, and telephone number of plalntiffs attorney, or plaintiff without an attorney, is: (E7 nombre, la direcci6n y el numero
              de teldfono del abogado del demandante, o del demandante que no tiene abogado, es):
              Douglas H. Hoang, Esq., K2 Employment Law, LLP 11751 Zeizah Avenue Granada Hills, CA 91344; (800) 590-7674
              DATE:                       Sherri R. Carter Executive Officer I Cle,rk of Court Clerk, by                                        Deputy
                        05/07l2021                                                                                  R. Clifton
              (Fecha)                                                                          (Secretario)                                    (Adjunto)
              (For proof of service of this summons, use Proof of Service of Summons (form POS-010).)
              (Para prueba de entrega de esta citati6n use el formulario Proof of Service of Summons, (POS-010).)
                                                      NOTICE TO THE PERSON SERVED: You are served
                                                      1. 0        as an individual derendant.
                                                      2. =                            _ der the-fictitious_name-of_.specify)....
                                                                  as the person sued un                                                        ~~~                          ---
                                                                                         SPHERION STAFFING, LLC a Delaware Limited Liability Company, Sued Here in
                                                      3.   ~      on behalf of (speCl~•~ as Doe 1

                                                           under: 0        CCP 416.10 (c`orporatlon                              0       CCP 416.60 (minor)
                                                                  ~        CCP 416.20 (defunct corporation)                      0       CCP 416.70 (conservatee)
                                                                  ~        CCP 416.40 (association or partnership)               0       CCP 416.90 (authorized person)
                                                                    ®       other (8pecify): Corporation Code 17061 Limited Liability Company
                                                      4. =        by personal delivery on (date)                                                                               aaae I
              Form Adopted for Mandatory Use                                             SU'VIMONS                                                   Code of Civil Procedure §§ 412.20, 465
              Judicial Council of California                                                                                                                             tvtnv.courts.ca.gov
              SUM-100 [Rev. July 1, 2009]

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                       pirotection andpfivacy;      pressth`e Cleai                                                                                           ~.._____~_. ___®.__,_
              This Form button afteryou have printed the form.                      PPint thi8 form            Save this fofm                                  Cleaf this form ~
              ~ ..________~____
                                                                                     i        I
                           Case    2:21-cv-07844 Document 1 Filed 10/01/21 Page 18 of 51 Page ID #:18
                             Court of California, County of Los Angeles on 05/07/2021,103_~Z PM,ShBm R. Carter, Executive Offlcer/Clerk of Court, by
Electronically FILED by        r                                                                                                                  R. Clifton,Deputy Clerk

                                        Assigned for all purposes to: Stanley Mos2k C
                                                                                    So
                                                                                     TurtVh~o7u3s6eU, Judicial Officer: Michelle Williams Court




                           1       Douglas H. Hoang, Esq. (SBN 193412)
                                   dhoangAk2employmentlaw.com
                           2       Matthew T. Kramer, Esq. (SBN 255165)
                                   mkramer(cr~,k2employmentlaw.com"
                           3       John Li-Chien, Esq. (SBN 191266)
                                   ilin@k2eLnployMentlaw.com
                           4       K2 Employment Law, LLP
                                   11751 Zelzah Avenue              ~
                           5       Granada Hills, California 91344
                                   Tel. No.: (800) 590-7674
                           6
                                   Attorneys for Plaintiff CODY NUTE
                           7

                           8                                 SUPERIOR COURT OF THE STATE OF CALIFORNIA
                           9                  FOR THE COUNTY OF LqS'IANGELES — STANLEY MOSK COURTHOUSE
                          10

                          11 I CODY NUTE, individually,                                               Case No.: 2 ~1 S T CV 1 7 36 0
                          12                          Plaintiff,                                      COMPLAINT FOR:
                          13       V.                                                                 (1)        WRONGFUL TERMINATION;
                                                                                                      (2)        VIOLATION OF FAIR LABOR
                          14       PERKINELMER, INC., a           I                                              STANDARDS ACT/FAMILIES
                                   MASSACHUSETTS corporation; and                                                FIRST CORONA VIRUS RELIEF
                          15       DOES 1 through 50, inclusive,                                                 ACT;
                                                                                                      (3)        FAILURE TO TIMELY PROVIDE
                          16                          Defendants.                     ~                          EMPLOYMENT RECORDS (CAL.
                                                                                                                 LABOR CODE § 1198.5); and
                          17                                                                          (4)        FAILURE TO TIMELY PROVIDE
                                                                                                                 PAY RECORDS (CAL. LABOR
                          18                                                                                     CODE § 226)
                          19                                                                      ~   [DEMAND FOR JURY TRIAL]
                          20                  Plaintiff , CODY NUTE, individually alleges:
                          21                                                  JURISDICTION
                                                                                   ,
                                                                                           AND VENUE

                          22             1            Plaintiff CODY NUTE (hereinafter referred to as "Plaintiff), an individual,
                          23       alleges knowledge as to his own, and information and belief as to all other matters, as follows:
                          24             2.           Plaintiff was, at all times mentioned herein, a resident of the County of Los
                                                                                          i
                          25       Angeles in the State of California.
                          26             3.           Defendant PERKINEL2VIER, INC. (hereinafter referred to as "Defendant" or
                          271I"PERKINELMER"),                   is and was at all material times mentioned herein,, a business and employer
                          28       doing business in Los Angeles County and elsewhere in the State of California.

                                                                                                      -1-

                                                                                   COMPLAINT FOR DAMAGES
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                                           i
 1         4.        Plaintiff is ignorant of the true names of Defendants DOES 1 through 50,

 2   inclusive, and has therefore sued them by the above names which are fictitious. Plaintiff will

 3   amend this complaint by inserting true names in lieu of the fictitious names when the true names

 4   are ascertained. Plaintiff is informed and believes and thereon alleges that each of the Defendants
                                  i
 5   designated in this Complaint as DOE i's responsible and liable to Plaintiff in some manner for the
                                       I;
 6   events, happenings, and contentions referred to in this complaint. All references in this

 7 I complaint to "Defendants" shall be deemed to include PERKINELMER and all DOE Defendants

 8   collectively.

 9         5.        Plaintiff is informed and believes and thereon alleges that each Defendant,

10   including DOES, was and is the agent, employee, servant, subsidiary, partner, member,

11   associate, or representative of each other Defendants, including DOES,,, and all of the things

12   alleged to have been done by the Defendants, and each of them, were done in the course and
                                       i
13   scope of the agency, employment, service, or representative relationship and with the knowledge

14   and consent of their respective principals, employers, masters, parent limited liability company,
                                            I
15   partners, members, associates, or representatives.

16        6.         The unlawful practices and tortious conduct complained of herein occurred in the

17   County of Los Angeles, State of Califo rnia.
                                           i
18         7.      Plaintiff worked for PERKINELMER until or about December 29, 2020 when
                                                                                          ,
19   Plaintiff was wrongfully terminated due to COVID-19 related care and leave. On or about

20   December 10, 2020, Plaintiffls son was ill with potential complications from COVID-19.
                                            i
21   Plaintiff then tested negative but was ordered by health care practitioners to self-isolate and stay

22   at home. Despite Plaintiff's attempls to return to work, he was wrongfully terminated by

23 I PERKINELMER for his COVID-19 related leave.

24        8.         As a direct and pro~imate result of Defendants' actions against Plaintiff, as

25   alleged above, Plaintiff has suffered special damages including but not limited to loss of wages,
26   including front and back pay, and be efits, including consequential damages in an amount to be
                                             i
27   proven at time of trial, in excess of the minimum jurisdictional requirements of this Court.

28        9.         As a further ~',direct and proximate result of Defendants' actions against Plaintiff,

                                          I 1        -2-
                                         COMPLAINT FOR DAMAGES
  Case 2:21-cv-07844 Document 1 Filed 10/01/21 Page 20 of 51 Page ID #:20



                                ,
                                s~

 1    as alleged above, Plaintiff 'has suffered and continues to suffer general damages including but
                                           f
 2    not limited to significant and enduring emotional distress including humiliation, mental anguish

 3    and physical distress, injury to mind and body, in a sum to be proven at time of trial, in excess

 4    of the minimum jurisdictional requirements of this Court.

 5       10.       In doing the acts set forth above, Defendants acted as herein alleged with a

 6   conscious disregard of Plaintiff rights as an employee. Defendants, by and through their

 7   managing agents, acted deliberately to punish Plaintiff for reporting him disability and

 8   requesting accommodation. For all of these reasons, the Plaintiff is entitled to an award of

 9   punitive damages.

10                                    FIIZST CAUSE OF ACTION
                                           i
11                                   WRONNGFUL TERMINATION

12                                      (Against All Defendants)

13       11.        Plaintiff realleges ai d; incorporates by reference each and every allegation
                                            I
14   contained in each and every aforementioned paragraph as though fully set forth herein.

15       12.       The Families First Coronavirus Response Act ("FFCRA") signed into law the

16 I Emergency Paid Sick Leave Act, 29 U.S.C. § 2601 et seq. on March 18, 2020, effective April 1,

17   2020. The FFCRA was in full force and effect at all times relevant herein.

18       13.       Section 5102 of the FFCRA requires employers to provide to each employee paid

19 I sick time to the extent that the employee is unable to work due to a need for leave because of any

20   of the following: (1) the employee is subject to a federal, State, or local quarantine or isolation
                                         I                                               i
21   order related to COVID-19; (2) the employee has been advised by a health care provider to self-

22   quarantine due to concerns related to COVID-19; (3) the employee is experiencing symptoms of
                                           I
23   COVID-19 and seeking a medical diagnosis; (4) the employee is caring for an individual who is

24   subject to an order as described in (1) or has been advised as described in (2), above; (5) the
25   employee is caring for a son or daughter if the school or place of care has been closed due to
26   COVID-19 precautions; or (6) the employee is experiencing any other substantially similar

27   condition specified by the Secretary of Health and Human Services in consultation with the

28   Secretary of the Treasury and the Secretary of Labor.

                                                    -j-
                                       COMPLAINT FOR DAMAGES
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                                          ~i




1        14.        Section 5104 of the FFCR.A makes it unlawful for any employer to discharge,
2    discipline, or in any other manner discriminate against any employee who takes leave in
                                        I
 3   accordance with the FFCRA.
 4       15.        At all times alleged herein, Plaintiff was employed by PERKINELMER and
 5   DOES 1 through 50.                   1

 6       16.        After fmding his son ill with potential COVID-19 related symptoms, Plaintiff was

 7   tested for COVID-19.      Although Piaintiff tested negative, he was advised by health care
 8   practitioners to isolate and stay at home.
 9       17.        Plaintiff was told not to return to work until he had been tested and received test

10   results indicating that he had not contracted COVID-19. Despite Plaintiff s attempts to return to
11   work, he was wrongfully terminated by Defendant.
12       18.        As a direct and proximate result of Defendant and DOES 1 through 50's
13   retaliation, Plaintiff has suffered and will continue to suffer actual damages in an amount within
14   the jurisdiction of this Court, the exait amount to be proven at the time of trial. Such damages
15   include, but are not limited to loss of salary and other valuable employment benefits,
16   prejudgment interest and interest on the sum of damages at the legal rate, other consequential
                                        I
17   damages, including damages for shame, humiliation, mental anguish, and emotional distress.
18       19.        Because the termination was committed by Defendant and DOES 1 through 50,

19   and each of them, including officers, directors, supervisors, and/or managing agents of the
20   company, who acted with znalice, oppression or fraud, or were deliberate willful and acted in
21   conscious disregard of the probabi'ity of causing injury to Plaintiff, Plaintiff seeks punitive
                                          1
22   damages against Defendant and DOES 1 through 50 in order to deter them from such conduct
23   and allowing such conduct in the future.
24       20.        Further, Section 5104 of the FFCRA provides that where an employer terminates
25   an employee for taking sick leave pursuant to the FFCRA, the employer is in violation of 29
26   U.S.C. § 215(a)(3) and is liable for th~e penalties provided in 29 U.S.C. §§ 216 and 217, which
27   include reinstatement, lost wages, liquidated damages in an amount equal to the lost wages,
28   attorneys' fees, costs, and injunctive relief. All remedies are demanded herein.
                                           l
                                                   -4-
                                         COMPLAINT FOR DAMAGES

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 1                                      SECOND CAUSE OF ACTION
 2                         VIOLATION OF FAIR LABOR STANDARDS ACT/
 3                          FAMILIES FIRST CORONAVIRUS RELIEF ACT
 4                                            (By All Defendants)
                                   t,
 5        21.        Plaintiff realleges and incorporates by reference each and every allegation

 6    contained in each and every aforementioned paragraph as though fully set forth herein.

 7        22.        The Families First Coronavirus Response Act ("FFCRA") signed into law the

 8   I Emergency Paid Sick Leave Act, 29 U.S.C. § 2601 et seq. on March 18, 2020, effective April 1,

 9    2020. The FFCRA was in full force and effect at all times relevant herein.

10        23.        Section 5102 of the FFCRA requires employers to provide to each employee paid

11    sick time to the extent that the employee is unable to work due to a need for leave because of any

12    of the following: (1) the employee is subject to a federal, State, or local quarantine or isolation

13    order related to COVID-19; (2) the employee has been advised by a health care provider to self-

14    quarantine due to concerns related to COVID-19; (3) the employee is experiencing symptoms of

15    COVID-19 and seeking a medical diagnosis; (4) the employee is caring for an individual who is

16    subject to an order as described
                                 ,~i   in (1) or has been advised as described in (2), above; (5) the

17    employee is caring for a son or daughter if the school or place of care has been closed due to

18    COVID-19 precautions; or (6) the' einployee is experiencing any other substantially similar

19    condition specified by the Secretary of Health and Human Services in consultation with the

20    Secretary of the Treasury and the Secretary of Labor.

21        24.        Section 5104 of the FFCRA makes it unlawful for any employer to discharge,

22    discipline, or in any other manner discriminate against any employee who takes leave in

23    accordance with the FFCRA.

24        25.      At all times alleged herein, Plaintiff was employed by PERKINELMER and
                                       I
25    DOES 1 through 50.

26        26.        After finding his son ill with potential COVID-19 related symptoms, Plaintiff was

27    tested for COVID-19.       Although Plaintiff tested negative, he was advised by health care

28    practitioners to isolate and s,tay at home.
                                   ~

                                               ~     -5-
                                           CbNiPLAINT FOR DAMAGES
 Case 2:21-cv-07844 Document 1 Filed 10/01/21 Page 23 of 51 Page ID #:23

                                           1

 1       27.        Plaintiff was`i told not to return to work until he had been tested and received test

 2   results indicating that he had not comtrlacted COVID-19. Despite Plaintiff s attempts to return to

 3   work, he was wrongfully terminated by Defendant.

 4       28.        As a direct and proximate result of Defendant and DOES 1 through 50's

 5   retaliation, Plaintiff has suffered and will continue to suffer actual damages in an amount within

 6   the jurisdiction of this Court, the exact amount to be proven at the time of trial. Such damages
                                             I
 7   include, but are not limited to loss of salary and other valuable employment benefits,

 8   prejudgment interest and interest on the sum of damages at the legal rate, other consequential

 9   damages, including damages for shame, humiliation, mental anguish, and emotional distress.

10       29.        Further, Section 5104 of the FFCRA provides that where an employer terminates

11   an employee for taking sick leave pursuant to the FFCRA, the employer is in violation of 29

12   U.S.C. § 215(a)(3) and is liable for the penalties provided in 29 U.S.C. §§ 216 and 217, which
                                 G.
13   include reinstatement, lost 'wages, liquidated damages in an amount equal to the lost wages,

14   attorneys' fees, costs, and injunctive~re'lief. All remedies are demanded herein.

15                                   THIRD CAUSE OF ACTION
16               (FAILURE TO TIMELY PROVIDE EMPLOYMENT RECORDS
17                                 (CAL. LABOR CODE § 1198.5))
18                                        (Sy All Defendants)
                                           I
19       30.        Plaintiff realleges and incorporates by reference each and every allegation

20   contained in each and every aforementioned paragraph as though fully set forth herein.

21       31.        Employers in California are required to maintain a copy of each employee's

22   personnel records and make a current or former employee's personnel records available for

23   inspection, and, if requested by the employee or his or her representative, provide a copy thereof.

24   Cal. Labor Code § 1198.5(c)(1)-(3). "Every current and former employee, or his or her

25   representative, has the riglit to inspect and receive a copy of the personnel records that the
                                            ~
26   employer maintains relating to the eniployee's performance or to any grievance concerning the

27   employee." Cal. Labor Code § 1198.5(a).

28       32.        Employers are required to "make the contents of those personnel records available

                                           1        -6-
                                        COMPLAINT FOR DAMAGES
                                          I
 Case 2:21-cv-07844 Document 1 Filed 10/01/21 Page 24 of 51 Page ID #:24




1    for inspection to the current or former employee, or his or her representative, at reasonable
                                            i
2    intervals and at reasonable times, but not later than 30 calendar days from the date the employer
3    receives a written request." Cal. LaboriCode, § 1198.5(b)(1).
4        33.        Plaintiff requested his personnel records on or about January 13, 2021 through his
 5   representative. Defendants have failed to provide Plaintiff's personnel file to him.
 6       34.        Plaintiff has been prejudiced in his efforts to obtain relief by his inability to access

 7   critical employment information.         (

 8       35.       Defendants have violated Labor Code section 1198.5 by failing to provide
                                 a
 9   employee personnel records,, within thirty (30) days of the initial request for their production. As
10   a result, Plaintiff is entitled to recoVelt the seven-hundred and fifty dollar ($750) penalty from
11   Defendants and attorney's fees provided by Labor Code section 1198.5(1).
12       36.        WHEREFORE, Plaintiff requests relief as liereinafter provided.

13                                    FOURTH CAUSE OF ACTION
                                              ~
14               (FAILURE TO TIMELY PROVIDE EMPLOYMENT RECORDS
15                                    (CAL. ~ABOR CODE & 1198.5))

16                                            (By All Defendants)

17       37.        Plaintiff realleges and incorporates by reference each and every allegation

18   contained in each and every aforementioned paragraph as though fully set forth herein.
19       38.        Under Labor Code sectOn 226(c) Employers in California are required to provide
20   wage statements within 21 days of a request to inspect the records: Cal. Labor Code Section
21   226(c).                     E~
                                              ~
22       39.        Moreover, "[a] failurL by an employer to permit a current or former employee to
23   inspect or receive a copy of records within the time set forth in subdivision (c) entitles the
24   current or former employee or the Labor Commissioner to recover a seven-hundred-fifty-dollar
25   ($750) penalty from the employer" Ca}. Labor Code Section 226(f).                    t

26       40.        Plaintiff requested his pay records and wage statements on January 13, 2021
                                              I
27   through his representative. Defendants have failed to provide Plaintiff's pay records and wage
28   statements to him.
                                          I
                                                      -7-
                                         COMPLAINT FOR DAMAGES


                                              ~
 Case 2:21-cv-07844 Document 1 Filed 10/01/21 Page 25 of 51 Page ID #:25




 1       41.       Plaintiff has been prejudiced in his efforts to obtain relief by his inability to access
 2   critical employment information.

 3       42.       Defendants have violqted Labor Code section 226 by failing to provide employee
                                                I
 4   pay records and wage statements within twenty-one (21) days of the initial request for their

 5   production. As a result, Pl4intiff is entitled to recover the seven-hundred and fifty dollar ($750)

 6   penalty from Defendants and attorney'~ s fees provided by Labor Code section 226.
                                           i
 7       43.       WHEREFORE, Plaintiff requests relief as hereinafter provided.

 8                                      PRAYER FOR RELIEF

 9          WHEREFORE, Plaintiff prays for relief and judgment against Defendants, as follows:

10        1.       For general damages in' an amount according to proof;

11        2.       For special damages in in amount according to proof;

12        3.       For compensatory damages including but not limited to lost wages and other

13                 special, general and compensatory damages in an amount according to proof;

14        4.       For punitive damages;

15        5.       For attorneys' fees pursuant to California Labor Code;

16        6.       For statutory and civil penalties;

17        7.       For interest as allowed by law;
                                            I
18        8.       For injunctive relief; ~

19        9.       For costs of suit; and

20       10.       For such other and further relief as the Court may deem just and proper.

21   DATED: May 7, 2021                         K2 Employment Law Group, LLP
22

23                                              B:
                                                 y
                                                      Douglas H. Hoang
24                                                    Matthew T. Kramer
                                                      John L. Lin
25                                          I         Attorneys for Plaintiff CODY NUTE
26

27
28

                                                       -o-
                                                        FOR DAMAGES
 Case 2:21-cv-07844 Document 1 Filed 10/01/21 Page 26 of 51 Page ID #:26




 1                           ~             JURY DElVIAND
                             i
 2        Plaintiff CODY NUTE demands a trial by jury of all issues.
                                       I
 3   DATED: May 7, 2021               K2 Employment Law Group, LLP
 4

 5                                    By:
                                       i      Douglas H. Hoang
 6                                            Matthew T. Kramer
                                              John L. Lin
 7                                     I      Attorneys for Plaintiff CODY NUTE
 8

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                                    COMPLAINT FOR DAMAGES

                                       I
                              Case 2:21-cv-07844 Document 1 Filed 10/01/21 Page 27 of 51 Page ID #:27
Electronically FILED by Superior Court of California, County of Los Angeles on 05/07/2021'Q 7~pM Sh rri R. Carter, Executive Officer/Clerk of Court, by R. Clifton,Deputy Clerk
                                                                                       21~S~~V1736~
                                                                                                                                                                              CM-010
              ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State 8ar number, and address):
                                                                                                                                            FOR COURT USE ONLY
              Douglas H. Hoang, Esq. (SBN 193412)
              K2 Employment Law Group, LLP
              11751 Zelzah Avenue, Granada Hills, California 91344
                        TELEPHONE NO.:       (800) 590-7674                 FAx NO. (optionat): 818-360-9539
                   ATTORNEY FOR (Name): PIa]ntlff CODY NUTE                                   ,
              SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
               STREETADDRESS: 111 N. HIII St.
              MAILING ADDRESS:
              CITYAND ztP CODE: Los Angeles, CA 90012
                   BRANCH NAME: Stanley MOSk COurthOUse

              CASE NAME:
               NUTE v. PERKINELMER, INC., a MASSACHUSETTS corporation; and DOES 1 through 50, inclusil
                       CIVIL CASE COVER SHEET                                                                               CASENUIv1BER:
                                                                                Complek Case Designation
              Ox Unlimited                             Limited              0      Counter           0       Joinder           21 ST CV 1 7 36 0
                       (Amount                         (Amount
                                                                        Filed with first appearance by defendant            JUDGE:
                       demanded                        demanded is
                                                                             Cal. Rules of Court, rule 3.402)                DEPT.:
                       exceeds $25.000)                $25.000)             (             ,
                                                                                                                       on page
                    Check one box below for the case type that best describes this case:
                   Auto Tort                                            Contract                                         Provisionally Complex Civil Litigation
                   ~     Auto (22)                                               Breach of contract/warranty (06)        (Cal. Rules of Court, rules 3.400-3.403)
                   0     Uninsured motorist (46)                                 Rule 3.7J40', collections (09)         ~       Antitrust/Trade reguiation (03)
                   Other PI/PD/WD (Personal Injury/Property             0        Other cblleptions (09)                 ~       Construction defect (10)
                   DamagelWrongful Death) Tort                          ~                                               ~       Mass tort (40)
                                                                                 Insurance coverage (18)
                   ~       Asbestos (04)                                                                                0       Securities litigation (28)
                                                                     0     Other contract (37)
                   ~       Product liability (24)                                                                       ~      Environmental/Toxic tort (30)
                                                                     Real Property
                   0     Medical malpractice (45)                    0                                                  0      Insurance coverage claims arising from the
                                                                           Eminent domain/Inverse
                                                                                                                               above listed provisionally complex case
                   ~     Other PI/PD/WD (23)                               condemnation (14)
                                                                                                                               types (41)
                   Non-PI/PD/WD (Other) Tort                         0     Wrongful eviction (33)                        Enforcement of Judgment
                   ~     Business tort/unfair business practice (07) 0     Other real property (26)                     0     Enforcement of judgment (20)
                   0     C]vil rights (08)                           Unlawful Detainer
                                                                                                                        Miscellaneous Civil Complaint
                   0       Defamation (13)                              ~        Commercial (31)
                                                                                                                        0       RICO (27)
                   ~       Fraud (16)                                   ~        Residentiall(32)
                                                                                                                        0       Other comp]aint (not specified above) (42)
                   ~       Intellectual property (19)                   0        Drugs (38)
                                                                                                                         Miscellaneous Civil Petition
                   ~       Professional negligence (25)                 Judicial Reviewf
                                                                                                                        0       Partnership and corporate governance (21)
                        Other non-PI/PD/WD tort (35)                    ~        Asset forfeiture (05)
                   ~
                                                                        ~        Petition're: arbitration award (11)    0       Other petition (not specified above) (43)
                   Employment
                   0       Wrongful termination (36)                    ~        Writ of mandate (02)
                   ~x      Other employment (15)                        ~        Otherjudicial review (39)

              2.    This case =       is   F—x-1 is not     complex under rule 3.400 of the Califomia Rules of Court. If the case is complex, mark the
                   factors requiring exceptional judicial management:           i
                    a.     Large number of separateiy represented parties             d. 0     Large number of witnesses
                    b. 0   Extensive motion practice raising difticult or novel e. 0           Coordination with reiated actions pending in one or more
                           issues that will be time-consuming to resoive '                     courts in other counties, states, or countries, or in a federal
                 c.        Substantial amount of documentary e5idence                          court
                                                                                  , I f. 0     Substantial postjudgment judicial supervision
              3. Remedies sought (check all that apply)_ a. ®           monetary             nonmonetary; deciaratory or injunctive relief c. ®       punitive
              4.  Number   of causes   of action (specify): 4
              5. This case =        is     F— x-] is not     a class action suit.
              6. If there are any known    related  cases,  file and serve a notice of reiated case. (You may use form CM-015.)
              Date: May 7, 2021                                                                            ®
              Douglas H. Hoang, Esq.
                                                 OR PRIN7


                • Plaintiff must file this cover sheet with the first paper flled in the action or proceeding (except small ciaims cases or cases fiied
                  under the Probate Code, Family Code, or Welfare and Institutions Code). (Cal. Rules of Court, rule 3.220.) Failure to fiie may resuit
                  in sanctlons.
                • File this cover sheet in addition to any cover sheet required by local court rule.
                • If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
                  other parties to the action or proceeding.
                • Unless this is a collections case under rule 3.740 or a complex case, this cover sheet wlll be used for statistical purposes oniy.
                                                                                                                                                                              Page 1 of 2
              rorm ,vdoptea ror ooanaarory use
              Judicial Council of California
                                                                                 IL                                                      Cal. Standards of Judicial Administration, std. 3.10
              CM-010 [Rev. July 1, 2007]                                                                                                                                wtvw.courts.ca.gov
                 Case 2:21-cv-07844 Document 1 Filed 10/01/21 Page 28 of 51 Page ID #:28

                             INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET                                                            CM-010
To Plaintiffs and Others Filing First Papers. If you are flling a first paper (for example, a complaint) in a civil case, you must
complete and file, along with your first paper, the Civil Case Cover Sheet contained on page 1. This information will be used to compile
statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1, you must check
one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1,
check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action.
To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
To Parties in Rule 3.740 Collections Cases. A"collections case" under rule 3.740 is deflned as an action for recovery of money owed
in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's fees, arising from a transaction in which
property, services, or money was acquired on credit. A collections case does not include an action seeking the following: (1) tort
damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
attachment. The identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general
time-for-service requirements and case management rules, unless a defendant f[les a responsive pleading. A rule 3.740 collections
case will be subject to the requirements for service and obtaining a judgment in rule 3.740.
To Parties in Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
case is complex. If a plaintiff believes the case is complex under Fule 3.400 of the California Rules of Court, this must be indicated by
completing the appropriate boxes in items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the
complaint on all parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the
plaintifPs deslgnation, a counter-designation that the case is not complex, or, if the plaintiff has made no designation, a designation that
the case is complex.                                   CASE TYPES AND EXAMPLES
 Auto Tort                                     Contract                                          Provisionally Complex Civil Litigation (Cal.
    Auto (22)-Personal Injury/Property            Breach of Conrac
                                                               t tlWarrany t ()
                                                                              06
                                                                                                 Rules of Court Rules 3.400-3.403)
        Damage/Wrongful Death                        Breach of Rental/Lease
                                                                                                      Antitrust/Trade Regulation (03)
      Uninsured Motorist (46) (ifthe                     Contracti(not unlawful detainer
                                                                                                      Construction Defect (10)
       case involves an uninsured                              or wrongful eviction)                  Claims Involving Mass Tort (40)
       motorist claim subject to                      Contract/Warranty Breach-ellerS
                                                                                                      Securities Litigation (28)
          arbitration, check this item                     Plaintiff (not fraud ornegligence)
                                                                                                      Environmental/Toxic Tort (30)
          instead ofAuto)                             Negligent Breach of Contract/                   Insurance Coverage Claims
 Other PI/PD1WD (Personal In'u  ~ ry1                      Warranty                                        (arising from provisionally cromp/ex
 Property DamagelWrongful Death)                      Other Breach of ContractlWarranty
                                                                                                           case type listed above) (41)
 Tort                                             Collections (e.g., money owed, open            Enforcement of Judgment
     Asbestos (04)                                    book accounts) (09)                          Enforcement of Judgment (20)
       Asbestos Property Damage                       Collection ;Case-Seller Plaintiff
                                                                                                       Abstract of Judgment (Out of
       Asbesios Personal Injury/                      Other Promissory Note/Collections                    County)
           Wrongful Death                                  Case                                    Confession of Judgment (non-
     Product Liability (not asbestos or           Insurance Coverage (not provisiona/ly                 domestic re/ations)
            toxic%nvironmental) (24)                  complex) (18)                                 Sister State Judgment
    Medical Malpractice (45)                          Auto Subrogation
                                                                                                    Administrative Agency Award
                                                      Other Coverage
         Medical Malpractice-                                                                           (not unpaid taxes)
              Physicians & Surgeons               Other Contract (37)                               Petition/Certification of Entry of
    Other Professional Health Care                    Contractual Fraud                                  Judgment on Unpaid Taxes
            Malpractice                               Other Contract Dispute                        Other Enforcement of Judgment
    Other PI/PD/WD (23)                        Real Property                                              Case
        Premises Liability (e.g., slip            Eminent Domain/inverse                         Miscellaneous Civil Complaint
              and fall)                               Condemnation (14)
                                                                                                    RICO (27)
         Intentional Bodily Injury/PD1WD          Wrongful Evcon~
                                                               i fi () 33
                                                                                                    Other Complaint (not specified
               (e.g., assault, vandalism)         Other Real Property (e.g., quiet title) (26)           above) (42)
        Intentional Infliction of                     Writ of Possession of Real Property
                                                                                                        Declaratory Relief Only
              Emotional Distress                      Mortgage Foreclosure
                                                                                                         Injunctive Relief Only (non-
         Negligent Infliction of                      Quiet Title
                                                                                                             harassment)
               Emotional Distress                     Other Real Property (not eminent
                                                                                                         Mechanics Lien
         Other PI/PD/WD                                domain, landlord/tenant, or                       Other Commercial Complaint
 Non-PI/PDlWD (Other) Tort                             foreclosure)                                          Case (non-tort/non-comp/ex)
    Business TorUUnfair Buslness               Unlawful Detainer i
                                                                                                         Other Civil Complaint
        Practice (07)                             Commercial (31)'
                                                                                                             (non-tort(non-comp/ex)
    Civil Rights (e.g., discrimination,           Residential (32)                               Miscellaneous Civil Petition
          false arrest) (not civil                Drugs (38) (If the case involves illegal
                                                                                                    Partnership and Corporate
          harassment) (08)                        drugs, check thislitem; otherwise,                    Govemance (21)
    Defamation (e.g., slander, libel)             report as Commercial or Residential)
                                                                                                    Other Petition (not specified
           (13)                                Judicial Review                                          above) (43)
    Fraud (16)                                    Asset Forfeiture (05)               I                 Civil Harassment
    Intellectual Property (19)                    Petition Re: Arbitration Award (11)
                                                                                                        Workplace Violence
    Professional Negligence (25 )                 Writ of Mandate (02)
                                                                                                        Elder/Dependent Adult
        Legal Malpraciice                                    d
                                                      Writ-Aministrative   Mandamus
                                                                                                             Abuse
        Other Professional Malpractice                Writ-Mandamus on Limited Court
                                                                                                        Election Contest
                (notmedical orlegal)                      Case Matter
                                                                                                        Petition for Name Change
    Other Non-PI/PD/WD Tort (35)                      Writ-Other Limited Court Case
                                                                                                        Petition for Relief From Late
 Employment                                              Review
                                                                                                             Claim
    Wron ful Termination 36                       Other Judicial Review (39)
                                                                                                        Oiher Civil Petition
    OthergEmployment (15)
                        ()                            Review of Health Officer Order
                                                      Notice of Appeal-Labor
                                                            Commissloner Appeals
CPA-010 [Rev. July 1, 2007]                                                                                                              Page 2 of 2
                                                    r CIVIL CASE COVER SHEET
                                                     l
Foryour
      pf (- )tection                   ress tfie CleaN
                   and privacy;Please p_
Tn~  orm button afteryou have printed the form.             Pri t this form            Save this form                      EClear this form ~
                                                     !!!
                 Case 2:21-cv-07844 Document 1 Filed 10/01/21 Page 29 of 51 Page ID #:29



 sHORTTiTLE: NUTE v. PERKINELMER, INC., a MASSACHUSETTSIcorporation; and D                                CASENUMBER




                              CIVIL CASE COVER SHEET ADDENDUM AND
                                      STATEMEN;T OF LOCATION
               (CERTIFICATE OF GROUNDS FOR AS'SIGNMENT TO COURTHOUSE LOCATION)

              This form is required pursuant to Local Rule 2.3 in all new civil case filings in the Los Angeles Superior Court.




     Step 1: After completing the Civil Case Cover Sheet (Judicial Council form CM-010), find the exact case type in
                   Column A that corresponds to the case type indicated in the Civil Case Cover Sheet.


     Step 2: In Column B, check the box for the type of action that best describes the nature of the case.


     Step 3: In Column C, circle the number which explains the reason for the court filing location you have
                   chosen.

                          I                Applicable Reasons for Choosing Court Filing Location (Column C)                               I

1.Class actions must be filed in the Stanley Mosk Courthouse, Central District.          7. Location where petitioner resides.

2.Permissive filing in central district.                                                 8. Location wherein defendant/respondent functions wholly.

3. Location where cause of action arose.                                                 9.Location where one or more of the parties reside.

4. Mandatory personal injury filing in North District.                                  10.Location of Labor Commissioner Office.
                                                                                        11.Mandatory filing location (Hub [ases — unlawful detainer, limited
5. Location where pertormance required or defendant reside~.                            non-collection, limited collection, or personal injury).
6. Location of property or permanently garaged vehicle_




                                 A                                                             B                                                         C
                     Civil Case Cover Sheet                                             Type of Action                                        Applicable Reasons -
                           Category No.                                                (Check only one)                                        See Step 3 Above

                              Auto (22)             ❑    A7100 Motor Vehicle Personal Injury/Property Damage/Wrongful Death                   1, 4, 11

                    Uninsured Motorist (46)         ❑    A7110 Personal Injury/Properry Damage/Wrongful Death — Uninsured Motorist            1, 4, 11
                                                                                 i

                                                    ❑    A6070 Asbestos Property Damage                                                       1, 11
                          Asbestos(04)
                                                    ❑    A7221 Asbestos - Personal Injury/Wrongful Death                                      1, 11

                      Product Liability (24)        ❑    A7260 Product Liapility (not asbestos or toxic/environmental)                        1, 4, 11

                                                    ❑    A7210 Medical Malpractice - Physicians & Surgeons                                    1, 4, 11
                    Medical Malpractice (45)
                                                    ❑    A7240 Other Professional Health Care Malpractice                                     1, 4, 11


                                                    ❑    A7250 Premises Liability (e.g., slip and fall)                                       1, 4, 11
                        Other Personal
                        Injury Property             ❑ A7230 Intentional Bodily Injury/Property Damage/Wrongful Death (e.g.,
                                                                                                                                              1, 4, 11
                       Damage Wrongful                       assault, vandalism, etc.)
   ~ o
   O                      Death (23)                       F                                                                                  1,4,11
                                                    ❑ A7270 Ilntentional Infliction of Emotional Distress
                                                                                                                                              1,4,11
                                                    ❑    A7220 OtherPersqnallnjury/PropertyDamage/WrongfulDeath
                                                                             I   I




   LASC CIV 109 Rev. 12/18
                                                 CIVIL CASE COVER SHEET ADDENDUM                                                        Local Rule 2.3
   For Mandatory Use
                                                    AND STATEMENT OF LOCATION                                                                 Page 1 of4
               Case 2:21-cv-07844 Document 1 Filed 10/01/21 Page 30 of 51 Page ID #:30


sHORTTITLE: NUTE v. PERKINELMER, INC., a MASSACHUSETTS corporation; and D                         CASE NUMBER




                             A                                                          B                                                C Applicable
                  Civil Case Cover Sheet                                           Type of Action                                     Reasons - See Step 3
                        Category No.                                        !     (Check only one)                                          Above

                    Business Tort (07)          ❑   A6029 Other Commercial/Business Tort (not fraud/breach of contract)               1, 2, 3

  a~ F0               Civil Rights (08)         ❑   A6005 Civil Rights/Discrimination                                                 1, 2, 3
  Q~
  0
  a       cc
          d          Defamation (13)            ❑   A6010 Defamation (slander/libel)                                                  1, 2, 3
  Z~
  ~w
  e ~                    Fraud (16)             ❑   A6013 Fraud (no contract)                                                         1, 2, 3
  ~o 0
                                                ❑   A6017 Legal Malpractice                                                           1, 2, 3
               Professional Negligence (25)
  a m                                           ❑   A6050 Other Professional Malpractice (not medical or legal)                       1, 2, 3
  c E
  z       ~
                         Other (35)             ❑   A6025 Other Non-Personal Injury/Property Damage tort                              1, 2, 3


      e          Wrongful Termination (36)      ❑   A6037 6 Wrongful Termination                                                      1, 2, 3
      m
      E
      0                                         El A6024 Other Employment Complaint Case                                              1, 2, 3
      a
      E           Other Employment (15)                            1
                                                ❑ A6109 Labor Commis'sionerAppeals                                                    10
      w
                                                ❑   A6004 Breach of Rental/Lease Contract (not unlawful detainer or wrongful
                                                                                                                                      2, 5
                                                          eviction)
               Breach of ContracU Warranry                                                                                            2, 5
                           (O6)                 ❑   A6008 ContractNUarrantY Breach -Seller Plaintiff (no fraud/ne9li~9 ence)
                     (not insurance)            ❑   A6019 Negligent Breach of Contract/Warranty (no fraud)                            1, 2, 5

                                                ❑   A6028 Other Breach of Contract/Warranty (not fraud or negligence)                 1, 2, 5


                                                ❑   A6002 Colleclions Case-Seller Plaintiff                                           5, 6, 11
                     Collections (09)
                                                ❑   A6012 Other Promissbry Note/Collections Case                                      5,11
                                                ❑   A6034 Collections Case-Purchased Debt (Charged Off Consumer Debt                  5, 6, 11
                                                          Purchased on or after January 1 2014

                 Insurance Coverage (18)        ❑   A6015 Insurance Coverage (not complex)                                            1, 2, 5, 8

                                                ❑   A6009 Contractual Fraud                                                          1, 2, 3, 5
                    Other Contract (37)         ❑   A6031 Tortious Interference                                                      1, 2, 3, 5
                                                ❑   A6027 Other Contract Dispute(not breachfinsurance/fraud/negligence)              1, 2, 3, 8, 9

                 Eminent Domain/Inverse
                                                ❑   A7300 Eminent Domain/Condemnation                Number of parcels               2,6
                   Condemnation (14)
      t~
                  Wrongful Eviction (33)        ❑   A6023,?Wrongful Eviction Case                                                    2.6

                                                ❑   A6018 Mortgage F(reclosure                                                       2,6
                 Other Real Property (26)       ❑   A6032 Quiet Title                                                                2,6
                                               ❑    A6060 Other Real Property (not eminent domain, landlord/tenant, foreclosure)     2,6

               Unlawful Detainer-Commercial
                                               ❑    A6021 Unlawful Detainer-Commercial (not drugs or wrongful eviction)              6,11
                           (31)
               Unlawful Detainer-Residential
                                               ❑    A6020 Unlawful Detainer-Residential (not drugs or wrongful eviction)             6,11
                            32
                   Unlawful Detainer-
                                               ❑    A6020FUnlawful Detainer-Post-Foreclosure                                         2, 6, 11
                  Post-Foreclosure 34
               Unlawful Detainer-Drugs (38)    ❑    A6022 Unlawful Detaiber-Drugs                                                    2, 6, 11



                                               CIVIL CASE COVER SHEET ADDENDUM                                                     Local Rule 2.3
LASC CIV 109 Rev. 12/18
                                                  AND STATEMENT OF LOCATION                                                          Page 2 of 4
For Mandatory Use                                                       i
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sHORT -nTLE: NUTE v. PERKINELMER, INC., a MASSACHUSETTSIcorporatlon; and D                    CASENUMBER




                          A                                                          B                                   C Applicable
               Civil Case Cover Sheet                                           Type of Action                        Reasons - See Step 3
                     Category No.                                              (Check only one)                             Above

                Asset Forfeiture (05)         ❑   A6108 Asset Forfeiture Case                                        2, 3, 6


   3         Petition re Arbitration (11)     ❑   A6115 Petition to Compel/ConfirmNacateArbitration                  2,5
    d
   .~
    d                                         ❑   A6151 Writ-Administrative Mandamus                                 2,8
   a
   Z
   T•
    v
                Wiil of Mandale (02)          ❑   A6152; Wril- Mandarnus on Limiled Courl Case Maller                2
   ~a
   ~                                          ❑   A6153 Writ - Other Limited Court Case Review                       2
   3                                                                , I
                                                                    I
             Other Judicial Review (39)       ❑   A6150 Other Writ /Judicial Review                                  2,8

           Antitrust/Trade Regulation (03)    ❑   A6003 Antitrust/Trade Regulation                                   1, 2, 8

              Construction Defect (10)        ❑   A6007 Construction Defect                                          1, 2, 3

             Claims Invo(~in Mass Tort        ❑   A6006 Claims Involving Mass Tort                                   1, 2, 8
                          0)

              Securities Litigation (28)      ❑   A6035 Securities Litigation Case                                   1, 2, 8

                     Toxic Tort                                      I
                                              ❑   A6036 Toxic TorUEnvironmental                                      1, 2, 3, 8
                 Environmental (30)

            Insurance Coverage Claims
   r.■                                        ❑   A6014 Insurance Coverage/Subrogation (complex case only)           1, 2, 5, 8
              from Complex Case (41)
                                                                   ~
                                              ❑   A6141 SisterStale Judgment                                         2, 5, 11
                                              ❑   A6160 Abstract of Judgment                                         2,6

                      Enforcement             ❑   A6107 Confession of Judgment (non-domestic relations)              2,9
                    of Judgment (20)          ❑   A6140 AdminislrativeiAgency Award (not unpaid taxes)               2,8
                                              ❑   A6114 Petition/Certificate for Entry of Judgment on Unpaid Tax     2,8
                                              ❑   A6112 Other Enforcement of Judgment Case                           2, 8, 9

                       RICO (27)              ❑   A6033 Racketeering (RICO) Case                                     1, 2, 8

                                              ❑   A6030 Declaratory Relief Only                                      1, 2, 8

                 Other Complaints            ❑    A6040 Injunctive Relief Only (not domestic/harassment)             2,8
             (Not Specified Above) (42)      ❑    A6011 Other Commercial Complaint Case (non-tort/non-complex)       1, 2, 8
                                             ❑    A6000 Other Civil Complaint (non-tort/non-complex)                 1, 2, 8

              Partnership Corporation
                                             ❑    A6113 Partnership and Corporate Governance Case                    2,8
                 Govemance (21)                                       1

                                             ❑    A6121 Civil Harassment With Damages                                2, 3, 9
                                             ❑    A6123 Workplace Har,assment With Damages                           2, 3, 9

                                             ❑    A6124 Elder/Dependent Adult Abuse Case With Damages                2, 3, 9
                Other Petitions (Not
               Specified Above) (43)         ❑    A6190 Election Contest                                             2
 M U                                         ❑    A6110 Petition for Change of Name/Change of Gender                 2
                                                                                                                      ,7
                                             ❑    A6170 Petition for Relief
                                                                     I      from Late Claim Law                      2 3 8
                                             ❑    A6100 Other Civil Petition                                         2, 9




                                             CIVIL CASE COVER SHEET ADDENDUM                                       Local Rule 2.3
LASC CIV 109 Rev. 12/18
                                                AND~ STATEMENT OF LOCATION                                           Page 3 of 4
For Mandatory Use                                        ,
               Case 2:21-cv-07844 Document 1 Filed 10/01/21 Page 32 of 51 Page ID #:32



 SHORTTITLE: NUTE v. PERKINELMER, INC., a MASSACHUSETTSi corporation; and D              CASE NUMBER




Step 4: Statement of Reason and Address*~ Check the appropriate boxes for the numbers shown under Column C for the
        type of action that you have selected. Enter the address which is the basis for the filing location, including zip code.
        (No address required for class action cases).   f j

                                                                           ADDRESS:
   REASON:                                                                                 2175 Mission College Blvd
                                                                                            Santa Clara, CA 95054
    ❑ 1.22.23. ❑ 4. ❑ 5. ❑ 6. ❑ 7. ❑ 8. ❑ 9. ❑ 10. ❑ 11.



   CITY:                                  STATE:       ZIP CODE:

  Santa Clara                            CA            95054


Step 5:     Certification of Assignment: I certify that this case is properlyfiled in the Central (Stanley Mosk Courthouse) District of
            the Superior Court of California, County of Los Angeles [Code Civ. Proc., §392 et seq., and Local Rule 2.3(a)(1)(E)].
                                                             I




  Dated: May 7, 2021
                                                                                      (SIGNATURE OF ATTORNEY/FILING PARTY)


                                                   r


  PLEASE HAVE THE FOLLOWING ITEMS COMPLETED'AND READY TO BE FILED IN ORDER TO PROPERLY
  COMMENCE YOUR NEVI! COURT CASE:                                  ~   i

       1. Original Complaint or Petition.

       2. If filing a Complaint, a completed Summons form for issuance by the Clerk.

       3. Civil Case Cover Sheet, Judicial Council form CM-010.

       4.   Civil Case Cover Sheet Addendum and Statement of Location form, LACIV 109, LASC Approved 03-04 (Rev.
            02/16).

       5, Payment in full of the filing fee, unless there is court, order for waiver, partial or scheduled payments.
                                                                  I
       6. A signed order appointing the Guardian ad Litem, Judicial Council form CIV-010, if the plaintiff or petitioner is a
          minor under 18 years of age will be required by Court in order to Issue a summons.

       7. Additional copies of documents to be conformed by the Clerk. Copies of the cover sheet and this addendum
          must be served along with the summons and coinplaint, or other initiating pleading in the case.




                                        CIVIL CASE COVER SHEET ADDENDUM                                                 Local Rule 2.3
  LASC CIV 109 Rev. 12/18
                                           AND STATEMENT OF LOCATION                                                         Page 4 of 4
  For Mandatory Use
               Case 2:21-cv-07844 Document 1 Filed 10/01/21 Page 33 of 51 Page ID #:33

                                                                                                    Reserved for Clerk's File Stamp
                  SUPERIOR COURT OF CALIFORNIA
                     COUNTY OF LOS ANGELES
  COURTHOUSE ADDRESS:
                                                                                                              FILE Q
 Stanley Mosk Courthouse                                                                           super;c,r Cnurt ©f catitor,va
 111 North Hill Street, Los Angeles, CA 90012                                                        C"urity®i L°sA"yA33
                                                                                                         05/07J2021
                       NOTICE OF CASE ASSIGNMENT                                                    C=1,?r,FwomC'we0Eo=+~~~adtJa,,
                                                                                                             R. Glillar7
                          UNLIMITED CIVIL CASE

                                                                                    CASE NUMBER:

  Your case is assigned for all purposes to the judicial officer indicated below.   21 STCV17360

                           THIS FORM IS TO BE SERVED WITH THE SUMMONS AND COMPLAINT

                ASSIGNED JUDGE              DEPT     ROOM        ~            ASSIGNED JUDGE                        DEPT          ROOM
   ~     Michelle Williams Court           74




    Given to the Plaintiff/Cross-Comptainant/Attomey of Record   I Sherri R. Carter, Executive Officer / Clerk of Court
    on 05/10/2021                                                        By R. Clifton                                                Deputy Clerk
                 (Date)
LACIV 190 (Rev 6/18)       NOTICE OF CASE ASSIGNMENT — UNLIMITED CIVIL CASE
LASC Approved 05/06
                Case 2:21-cv-07844 Document 1 Filed 10/01/21 Page 34 of 51 Page ID #:34

                                  INSTRUCTIONS FOR HANDLING UNLIMITED CIVIL CASES
                                                                   i
The following critical provisions of the California Rules of Court, Title 3, Division 7, as applicable in the Superior Court, are summarized
for your assistance.

APPLICATION
The Division 7 Rules were effective January 1, 2007. They apply to all general civil cases.

PRIORITY OVER OTHER RULES
The Division 7 Rules shall have priority over all other Local Rules to the extent the others are inconsistent.

CHALLENGE TO ASSIGNED JUDGE                                         ~
A challenge under Code of Civil Procedure Section 170.6 must be made within 15 days after notice of assignment for all purposes
to a judge, or if a party has not yet appeared, within 15 days of the first appearance.

TIME STANDARDS                                      i
Cases assigned to the Independent Calendaring Courts will be suliject to processing under the following time standards:

COMPLAINTS
All complaints shall be served within 60 days of filing and proof of service shall be filed within 90 days.

CROSS-COMPLAINTS
Without leave of court first being obtained, no cross-complaint may be filed by any party after their answer is filed. Cross-
complaints shall be served within 30 days of the filing date and a proof of service filed within 60 days of the filing date.

STATUSCONFERENCE
A status conference will be scheduled by the assigned Independent Calendar Judge no later than 270 days after the filing of the
complaint. Counsel must be fully prepared to discuss the following issues: alternative dispute resolution, bifurcation, settlement,
trial date, and expert witnesses.

FINAL STATUS CONFERENCE
The Court will require the parties to attend a final status conference not more than 10 days before the scheduled trial date. All
parties shall have motions in limine, bifurcation motions, statements of major evidentiary issues, dispositive motions, requested
form jury instructions, special jury instructions, and special jury verdicts timely filed and served prior to the conference. These
matters may be heard and resolved at this conference. At least five days before this conference, counsel must also have exchanged
lists of exhibits and witnesses, and have submitted to the court a brief statement of the case to be read to the jury panel as required
by Chapter Three of the Los Angeles Superior Court Rules.         I

SANCTIONS
The court will impose appropriate sanctions for the failure or refusal to comply with Chapter Three Rules, orders made by the
Court, and time standards or deadlines established li,y the Court or by the Chapter Three Rules. Such sanctions may be on a party,
or if appropriate, on counsel for a party.

This is not a complete delineation of the Division 7 or Ch Ipter Three Rules, and adherence only to the above provisions is
therefore not a guarantee against the imposition of sanctions under Trial Court Delay Reduction. Careful reading and
compliance with the actual Chapter Rules is imperative.

Class Actions
Pursuant to Local Rule 2.3, all class actions shall be filed at the Stanley Mosk Courthouse and are randomly assigned to a complex
judge at the designated complex courthouse. If the case is found not to be a class action it will be returned to an Independent
Calendar CourtToom for all purposes.

*Provisionally Complex Cases
Cases filed as provisionally complex are initially assigned to the Supervising Judge of complex litigation for determination of
complex status. If the case is deemed to be complex within the meaning of California Rules of Court 3.400 et seq., it will be
randomly assigned to a complex judge at the designated complex courthouse. If the case is found not to be complex, it will be
returned to an Independent Calendar Courtroom for all purposes.




                                                                   ~


LACIV 190 (Rev 6/18)        NOTICE OF CASE ASSIGNMENT - UNLIMITED CIVIL CASE
LASC Approved 05/06


                                                               I   I~
                         Case 2:21-cv-07844 Document 1 Filed 10/01/21 Page 35 of 51 Page ID #:35
                                                                                    i




Electronically FILED by Superior Court of California, County of Los Angeles on 06122/2021 08:08 AM Sherri R. Carter, Executive Officer/Clerk of Court, by R. Sanchez, Deputy Clerk

                                                                                            I
       NAME, ADDRESS, AND TELEPHONE NUMBER OF ATTORNEY OR PARTY WITHOUT ATTORNEY:               I STATE BAR NUMBER                 Reserved for Clerk's File Stamp

       Douglas H. Hoang, Esq.                                                           I        193412
       K2 Employment Law Group, LLP
       11751 Zelzah Avenue                                             FI
       Granada Hills, CA 91344                                                              I

       ATTORNEYFOR Name:                                                           I        ~
       SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
       COURTHOUSE ADDRESS:
       LASC - CENTRAL (Stanley Mosk) 111 N. Hill St. Los Angeles, CA 90012
        PLAINTIFF:
        CODY NUTE an individually
        DEFENDANT:
        PERKINELMER,Inc. A Massachusetts Corporation and DOES 1 through 50 inclusive
                                                                                                                         CASENUMBER:
                                     AMENDMENT TO COMPLAINT
                                       Fictitious /Incorrect Name                                                       1 21STCVI 7360
                                                                                            I

        0 FICTITIOUS NAME (No orderrequired)

            Upon the filing of the complaint, the plaintiff, being ignorant of the true name of the defendant and having
            desi nated the defendant in the com laint by the fictitious name of:
             FICTITIOUS NAME

            DOE 1
            and having discovered the true name of the defendant to be:
             TRUENAME

                                                                     i pany
           ISPHERION STAFFING, LLC a Delaware Limited Liability Co
           amends the com laint by substituting the true name for the fictitious name wherever it a                                   in the com
             DATE                      TYPE OR PRINT NAME                                       SIGNATURE OF ATTORNEY

 Q                                                                     s!
            06/22/2021                 Doug H Hoang                                         ,
 aD
 W
 0
 N      ❑ INCORRECT NAME (Order required)
 0
 N
 N          The plaintiff, having desi nated a defendant in the com laint by the incorrect name of:
 N_          INCORRECT NAME
 CO
 O
                                                                                            i
 'D
  N
  >
 .~
 U
 N
 ~
  >,       amends the com laint bv substituting the true name for the incorrect name wherever it appears in the com laint.
  cu         DATE                      TYPE OR PRINT NAME                                       SIGNATURE OF ATTORNEY
  U
 -C                                                                                                                               ,
  O
  L                                                                                 I
  U
 W                                                                              ORDER

        THE COURT ORDERS the amendment approved and filed.
                                                                                            ~


                 Dated                                                                                                         Judicial Officer
                                                                        i
                                                                                            I
                                                                   AMENDM~NT TO COMPLAINT                                                    Code Civ. Proc., §§ 471.5,
         LASC LACIV 105 (Rev. 08/18)                                (Fictitious / Incorrect Name)                                                            472, 473, 474
         For Optional Use
                        Case 2:21-cv-07844 Document 1 Filed 10/01/21 Page 36 of 51 Page ID #:36

                                                                                                                                                                                  CIV-110
      ATTORNEY OR PARTY WITHOUT ATTORNEY:                            STATE BAR NO: 193412                                                         FOR COURT USE ONLY
      NAME: Douglas H Hoang, Esq.
      FIRM NAME: K2 Employment Law Group,                 LLP
      STREETADDRESS: 11751 ZeiZah Avenue                                                                                                                ~ I ~~~
      cITY: Granada Hills                                                  STATE: CA                 ZIP CODE: 91344
      TELEPHONE NO.: (800) 590-7674                                       FAX NO.:
                                                                                                                                            Coun'iy4f LasAngele'.~~
      E-MAILADDRESS: dhoang@k2employmentlaw.com
      ATTORNEY FOR (Name):      Plaintlff Cody Nute                                                                                               0610912021

      SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES                                                                    :~ale: tit+ R Oar9w—, iExc~.i w'wc: "t'.~      cb_~ ad o'.:,'ri»,f
       STREETADDRESS: 111 N. HIII St.                                                            I                              S ~r                     ~_R. Oruz
                                                                                                                                    -
       MAILING ADDRESS:
      CITY AND ZIP CODE: LOS Angeles, CA 90012
          BRANCH NAME: Staniey MOSk COurthOUSe

           Plaintiff/Petitioner: Cody Nute, individually
      Defendant/Respondent: PERKINELMER, Inc. a Massachusetts Corporation et al.
                                                                                                                              CASE NUMBER:
                                            REQUEST FOR DISMISSAL                                                             20STCV17360
                                                                                             i
       A conformed copy will not be returned by the clerk unless a method of return is provided with the document.
       This form may not be used for dismissal of a derivative action or a class action or of any party or cause of action in a class
       action. (Cal. Rules of Court, rules 3.760 and 3.770.)
      1. TO THE CLERK: Please dismiss this action as follows:
         a. (1) =   With prejudice   (2) ~x Without prejudice
         b. (1) ®   Complaint        (2) =       Petition
                (3) 0         Cross-complaint filed by (name):                                                                      on (date):
                (4) 0         Cross-complaint filed by (name):                                                                      on (date):
                (5) 0         Entire action of all parties and all causes of action
             (6)          Other (specify):" As to Defendant PERKINELMER, INC, A Massachusetts Corporation- ONLY
      2. (Complete in all cases except family law cases.)               j
r        The court =        did F_x] did not waive court fees and costs for a party in this case. (This information may be obtained from the
n        clerk. If court fees and costs were waived, the declaration on the back of this form must be completed).
N     Date:June 09, 2021                                                                     1             h,
O                                                                                                                      —
N     Douglas H Hoang Esq.                                                                                 14
~     (TYPE OR PRINT NAME OF F 7X          ATTORNEY =           PARTY WITHOUT ATTORNEY)                                                  (SIGNATURE)
~
N     'If dismissal requested is of specified parties only of specified causes of action only,             Attorney or party without attorney for:
O
(N    or of specified cross-complaints only, so state and identify the parties, causes of                  ~x Plaintiff/Petitioner      0     Defendant/Respondent
0)    action, or cross-complaints to be dismissed.                                        i
O
                                                                                                           ~     Cross Complalnant
(D
0     3. TO THE CLERK: Consent to the above dismissal is hereby given."
-a    Date:
(D

U     (TYPE OR PRINT NAME OF                ATTORNEY =           PARTY WITHOUT ATTORNEY)                                        '        (SIGNATURE)
 a)                                 =                                                                                                                                                       i
~     " If a cross-complaint — or Response (Family Law)     seeking affirmative                            Attorney or party without attorney for:
>+    relief— is on file, the attorney for cross-complainant (respondent) must sign                        ~     Plaintiff/Petitioner         Defendant/Respondent
      this consent if required by Code of Civil Procedure section 581 (i) or Q).
                                                                           i                               ~     Cross Complainant
 U
.E
0
      (To be completed by clerk)                                   f i
U
iv    4.       Dismissal entered as requested on (date): 06/17,fi202 1
W     5 0      Dismissal entered on (date):                             as to only (name):
      6.       Dismissal not entered as requested for the following reasons (specify):


      7. a. 0           Attorney or party without attorney notifled on (date):
         b.             Attorney or party without attorney not notified. Filing party failed to provide
                        =     a copy to be conformed        =      means to return                                                  °'ffc`''~ °"e`otCau:t
      Date: 06 f 11/2 02 1                                           Clerk, by                                         R. Cr'uz                                   Deputy            Page 1 of 2

      Form Adopted for Mandatory Use                                                                                                          Code of Civil Procedure, § 581 etseq.; Gov. Code,
      Judicial Council of Califomia                                        REQUEST FOR DISMISSAL                                                    § 68637(c); Cal. Rules of Court, rule 3.1390
      CIV-110 [Rev. Jan. 1, 20131                                                                                                                                            www.courts.ca.gov
                   Case 2:21-cv-07844 Document 1 Filed 10/01/21 Page 37 of 51 Page ID #:37

                                                                                                                                   CIV-110
                                                                                                 CASE NUMBER:
       Plaintiff/Petitioner: Cody Nute, individually
                                                          I~                                     20STCV17360
  )efendant/Respondent: PERKINELMER, Inc. a Massachusetts corporation et al.




                                       COURT'S RECOVERY OF WAIVED COURT FEES AND COSTS
                     f a party whose court fees and costs were initially waived has recovered or will recover $10,000 or more ir
                     ralue by way of settlement, compromise, arbitration award, mediation settlement, or other means, the
                     :ourt has a statutory lien on that recovery. The court may refuse to dismiss the case until the lien is
                     satisfied. (Gov. Code, § 68637.)
                                                                        1

                                                Declaration Concerning Waived Court Fees
                                                         s
1. The court waived court fees and costs in this action for (name):
                                                                 i
2. The person named in item 1 is (check one below):            +
                                                                  i
   a. 0      not recovering anything of value by this action.
   b.        recovering less than $10,000 in value by this action.
   c. 0      recovering $10,000 or more in value by this action. (!f item 2c is checked, item 3 must be completed.)
3. 0          AII court fees and court costs that were waived in this action have been paid to the court (check one):        Yes       No

I declare under penalty of perjury under the laws of the State of California that the information above is true and correct.

Date:


(TYPE OR PRINT NAME OF =         ATTORNEY   =     PARTY MAKING DECLARATION)                             (SIGNATURE)




                                                           I




CIV-110 [Rev. January 1, 2013]                             REQUEST FOR DISMISSAL                                                   Page 2 of 2
  Case 2:21-cv-07844 Document 1 Filed 10/01/21 Page 38 of 51 Page ID #:38




                                            PROOF OF SERVICE
                                              I
              I am employed in the County of Lbs Angeles, State of California. I am over the age of
 f►a
       eighteen and not a party to the within action; my business address is 11751 Zelzah Avenue,
       Granada Hills, CA 91344. `~

 4          On June 09, 2021, I served tlie;foregoing document(s) described as REQUEST FOR
       DISMISSAL on all interested parties in this action by:
 5
       Kelli M. Dreger Esq.
 6     Jackson Lewis P.C.
       200 Spectrum Center Dr. Suite 500
 7     Irvine, CA 92618
       Kelli.Dreger@jacksonlewis.com
 8     Attorneys for Defendant PERKINELMER, INC.

 9     []      (BY U.S.MAIL): By placing a true copy thereof, enclosed in a sealed envelope with
       postage thereon fully paid for collection and mailing, under that practice it would be deposited
10     with the U.S. Postal Service on that same day, with postage thereon fully prepaid at San Diego,
       California, in the ordinary course of business. I am familiar with the Law Firm's practice of
11     collection and processing correspondence for mailing. I am aware that on motion of the party
       served, service is presumed invalid if postal cancellation date or postage meter date is more than
12     one day after date of deposit for mailing an affidavit.
13
       [ X] (BY ELECTRONIC TRANSMISSION) electronically delivering the document(s) listed
14     below via eService through One-Legal Service (www.onelegal.com) system which sends an email
       notification of the filing to th'e parties and counsel of record listed above. This service complies with
15     C.C.P. § 1010.6 and California Rule of Court 2.251 (b)(1)(B).
                                                  ~I
16
       []     (BY OVERNIGHT DELIVERY): By placing a true copy thereof, enclosed in a sealed
17     envelope, with delivery charges to be billed to K2 Employment Law and to be delivered by
       overnight delivery to the addresses as shown .
18

19     Executed on June, 09, 2021 at San Diego, California.
20
       [X]     STATE I declare under penalt~ of perjury under the laws of the State of California that
21     the foregoing is true and correct.
                                                                              ,
22

23
24
                                                               Dania Nunziante
25
26

27
28

                                                         -1-
                                                PROOF OF SERVICE
Case 2:21-cv-07844 Document 1 Filed 10/01/21 Page 39 of 51 Page ID #:39




                    EXHIBIT 2
                        Case 2:21-cv-07844 Document 1 Filed 10/01/21 Page 40 of 51 Page ID #:40

Electronically FILED by Superior Court of California, County of Los Angeles on 09/29/2021 11:13 AM Sherri R. Carter, Executive Officer/Clerk of Court, by R. Yanez,Deputy Clerk


           1      SEYFARTH SHAW LLP
                  Jamie C. Pollaci (SBN 244659)
           2      jpollaci@seyfarth.com
                  Sumithra R. Roberts (SBN 256078)
           3      sroberts@seyfarth.com
                  2029 Century Park East, Suite 3500
           4      Los Angeles, California 90067-3021
                  Telephone:    (310) 277-7200
           5      Facsimile:    (310) 201-5219

           6      Attorneys for Defendant
                  SPHERION STAFFING, LLC
           7

           8                                          SUPERIOR COURT OF THE STATE OF CALIFORNIA
           9                                                      FOR THE COUNTY OF LOS ANGELES
         10

         11       CODY NUTE, individually,                                                              Case No. 21STCV17360

         12                                    Plaintiff,                                                   [ASSIGNED TO HON. MICHELLE WILLIAMS
                                                                                                                      COURT, DEPT. 74]
         13                   v.
                                                                                                        DEFENDANT SPHERION STAFFING,
         14       PERKINELMER, INC., a MASSACHUSETTS                                                    LLC’S ANSWER TO PLAINTIFF’S
                  corporation; and DOES 1 through 25, inclusive,                                        UNVERIFIED COMPLAINT
         15
                                               Defendant.
         16                                                                                             Complaint Filed:               May 7, 2021
         17

         18

         19
         20

         21

         22

         23

         24

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         26

         27

         28


                                                        DEFENDANT’S ANSWER TO PLAINTIFF’S COMPLAINT
                  75480024v.2
         Case 2:21-cv-07844 Document 1 Filed 10/01/21 Page 41 of 51 Page ID #:41



 1            Defendant Spherion Staffing, LLC (“Defendant”) for itself and no other entity, hereby answers

 2   the unverified Complaint of Plaintiff Cody Nute (“Plaintiff”) as follows:

 3                                              GENERAL DENIAL

 4            Pursuant to Section 431.30(d) of the California Code of Civil Procedure, Defendant denies,

 5   generally and specifically, each and every allegation, statement, matter and each purported cause of

 6   action contained in the Complaint, and without limiting the generality of the foregoing, denies, generally

 7   and specifically, that Plaintiff has been damaged in the manner or sums alleged, or in any way at all, by

 8   reason of any acts or omissions of Defendant.

 9                                SEPARATE AND ADDITIONAL DEFENSES
10            In further answer to the Complaint, and as separate and distinct affirmative and other defenses,

11   Defendant alleges as follows, without thereby assuming the burden of proof on any defense on which it

12   would not otherwise have the burden of proof by operation of law.

13                                               FIRST DEFENSE

14                                      (Failure to State a Cause of Action)

15            1.     Plaintiff’s Complaint, and each purported cause of action contained therein, fails to state

16   facts sufficient to constitute a cause of action against Defendant.

17                                              SECOND DEFENSE

18                                            (Statute of Limitations)

19            2.     The Complaint, and each purported cause of action alleged therein, is barred in whole or
20   in part by all applicable statutes of limitation including but not limited to California Code of Civil

21   Procedure sections 335.1 and 340 and 29 U.S.C. §2617(c).

22                                               THIRD DEFENSE

23                                                    (Estoppel)

24            3.     Any recovery on Plaintiff’s Complaint and each cause of action alleged therein is barred

25   because Plaintiff is estopped by his conduct and actions to claim any right to damages or any relief

26   against Defendant.

27

28            ///
                                                          2
                               DEFENDANT’S ANSWER TO PLAINTIFF’S COMPLAINT
     75480024v.2
         Case 2:21-cv-07844 Document 1 Filed 10/01/21 Page 42 of 51 Page ID #:42



 1                                             FOURTH DEFENSE

 2                                                (Unclean Hands)

 3            4.    Any recovery on Plaintiff’s Complaint and each cause of action alleged therein is barred

 4   by the equitable doctrine of unclean hands because of Plaintiff’s conduct and actions.

 5                                               FIFTH DEFENSE

 6                               (Failure To Exhaust Administrative Remedies)

 7            5.    Plaintiff’s Complaint and each cause of action alleged therein are barred to the extent

 8   Plaintiff failed to exhaust his administrative remedies and to the extent Plaintiff’s causes of action

 9   exceed the scope of charges he filed, if any, with appropriate governmental agencies.
10                                               SIXTH DEFENSE

11                                           (Arbitration Agreement)
12            6.    The Court lacks jurisdiction over Plaintiff’s Complaint and each and every cause of

13   action alleged therein because of the existence of an agreement, executed by Plaintiff, to submit all

14   disputes relating to Plaintiff’s employment with Defendant to binding private arbitration. Defendant

15   reserves the right to seek an Order compelling arbitration of the Complaint.

16                                             SEVENTH DEFENSE

17                                          (After-Acquired Evidence)

18            7.    To the extent discovery may disclose information which could serve as a basis for the

19   alleged termination of Plaintiff’s employment, Plaintiff is barred from recovery by the after-acquired
20   evidence doctrine.

21                                              EIGHTH DEFENSE

22                                        (Failure to Mitigate Damages)

23            8.    Plaintiff’s Complaint and each cause of action alleged therein are barred, or should be

24   reduced, to the extent Plaintiff failed to mitigate his damages as required by law.

25                                               NINTH DEFENSE

26                                 (Workers’ Compensation Act Preemption)

27            9.    To the extent Plaintiff’s Complaint, or any purported cause of action alleged therein,

28   alleges emotional or physical injury, the Court lacks jurisdiction, and any recovery is barred by the
                                                          3
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 1   exclusivity of remedy under the California Workers’ Compensation Act, California Labor Code Sections

 2   3200, et seq.

 3                                               TENTH DEFENSE

 4                    (Failure to Take Advantage of Preventive/Corrective Opportunities)

 5            10.    Defendant exercised reasonable care to prevent and/or correct any discriminatory or

 6   retaliatory workplace conduct allegedly experienced by Plaintiff. Plaintiff unreasonably failed to take

 7   advantage of any preventative or corrective opportunities provided by Defendant, or to avoid harm

 8   otherwise, and thus, Plaintiff’s Complaint and each cause of action alleged therein are barred, or

 9   alternatively, his relief is limited.
10                                            ELEVENTH DEFENSE

11                                (Legitimate Business Justification/Mixed Motive)

12            10.    Any recovery on Plaintiff’s Complaint and each cause of action alleged therein are barred

13   because assuming arguendo that purported protected conduct had been a motivating factor in any

14   decisions toward Plaintiff, which Defendant expressly denies, Defendant would have made the same

15   decisions toward Plaintiff in any case for legitimate, non-retaliatory, non-discriminatory business

16   reasons. See Harris v. City of Santa Monica, 56 Cal. App. 4th 203 (2013).

17                                             TWELFTH DEFENSE

18                                      (Not A Substantial Motivating Factor)

19            11.    Plaintiff’s Complaint and each cause of action alleged therein are barred because his
20   purported protected leave of absence or other purported protected conduct was not a substantial

21   motivating factor for any of Defendant’s conduct or decisions concerning Plaintiff’s employment, and

22   Defendant would have taken the legitimate action it did irrespective of Plaintiff’s purported protected

23   conduct.

24                                           THIRTEENTH DEFENSE

25                                             (At-Will Employment)

26            12.    Defendant alleges that Plaintiff’s employment was not for a specified term and thus under

27   California Labor Code section 2922 his employment was terminable at the will of Plaintiff or Defendant

28
                                                         4
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 1   such that the exercise of that right cannot give rise to the claims asserted regarding Plaintiff’s alleged

 2   termination.

 3                                          FOURTEENTH DEFENSE

 4                                        (Offset — All Causes of Action)

 5            13.   Any recovery on Plaintiff’s Complaint and each cause of action alleged therein is barred

 6   in whole or in part because Defendant is entitled to an offset for any monies Plaintiff received from any

 7   source after Plaintiff ceased to be employed under the doctrine prohibiting double recovery set forth by

 8   Witt v. Jackson, 57 Cal. 2d 57 (1961) and its progeny.

 9                                            FIFTEENTH DEFENSE
10                                     (Punitive Damages Unconstitutional)

11            14.   Although Defendant denies it has committed or has responsibility for any act that could

12   support the recovery of punitive damages in this lawsuit, if any, to the extent any such act is found,

13   recovery of punitive damages against Defendant is unconstitutional under numerous provisions of the

14   United States Constitution and the California Constitution.

15                                            SIXTEENTH DEFENSE

16                         (Failure to State a Claim for Relief for Punitive Damages)

17            15.   Plaintiff is not entitled to recover any punitive, double or exemplary damages against

18   Defendant and any allegations with respect thereto should be stricken because Plaintiff has failed to

19   plead and cannot prove facts sufficient to support allegations of oppression, fraud and/or malice
20   pursuant to California Civil Code § 3294(a).

21                                         SEVENTEENTH DEFENSE

22                                         (Excessive Fines/Due Process)

23            16.   To the extent that Plaintiff seeks punitive damages, exemplary damages, liquidated

24   damages, or emotional distress damages in the Complaint, he violates the rights of Defendant to

25   protection from “excessive fines” as provided in the Eighth Amendment to the United States

26   Constitution and in Article I, Section 17 of the Constitution of the State of California and the rights of

27   Defendant to procedural and substantive due process under the Fifth and Fourteenth Amendments to the

28   United States Constitution and under the Constitution of the State of California.
                                                          5
                               DEFENDANT’S ANSWER TO PLAINTIFF’S COMPLAINT
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 1                                          EIGHTEENTH DEFENSE

 2                                        (Impossibility of Performance)

 3            17.    Pursuant to Labor Code Sections 226(c) and 1198.5(m), Defendant alleges impossibility

 4   of performance with regard to Plaintiff’s fourth cause of action for Violation of Labor Code Section 226

 5   and third cause of action for violation of Labor Code Section 1198.5.

 6                                          NINETEENTH DEFENSE

 7                                                  (Good Faith)

 8            18.    The actions alleged in the Complaint, to the extent they occurred, were taken in good

 9   faith and were a lawful exercise of sound discretion and Defendant’s legal rights, and were based on a
10   rational, reasonable consideration of the facts.

11                                            PRAYER FOR RELIEF

12            Wherefore, Defendant prays for judgment as follows:

13            A.     That Plaintiff take nothing by way of his Complaint;

14            B.     That judgment be entered in favor of Defendant and against Plaintiff in this action;

15            C.     That Defendant be awarded reasonable attorneys’ fees and costs of suit incurred herein as

16                   provided by law; and

17            D.     Defendant be awarded such other relief as this Court may deem just and proper.

18    DATED: September 29, 2021                         SEYFARTH SHAW LLP
19
20                                                      By:
                                                            Sumithra R. Roberts
21                                                       Attorneys for Defendant
                                                         SPHERION STAFFING, LLC
22

23

24

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                                                         6
                               DEFENDANT’S ANSWER TO PLAINTIFF’S COMPLAINT
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 1                                             PROOF OF SERVICE

 2   STATE OF CALIFORNIA                                )
                                                        )   SS
 3   COUNTY OF LOS ANGELES                              )

 4          I am a resident of the State of California, over the age of eighteen years, and not a party to the
     within action. My business address is 2029 Century Park East, Suite 3500, Los Angeles, California
 5   90067-3021. On 29 September 2021, I served the within document(s):

 6        DEFENDANT SPHERION STAFFING, LLC’S ANSWER TO PLAINTIFF’S UNVERIFIED COMPLAINT

 7           by placing the document(s) listed above in a sealed envelope with postage thereon fully prepaid,
      
       in the United States mail at Los Angeles, California, addressed as set forth below.
 8
             by personally delivering the document(s) listed above to the person(s) at the address(es) set forth
 9    
       below.
10           by placing the document(s) listed above, together with an unsigned copy of this declaration, in a
      
       sealed envelope or package provided by an overnight delivery carrier with postage paid on
11           account and deposited for collection with the overnight carrier at Los Angeles, California,
             addressed as set forth below.
12
             by transmitting the document(s) listed above, electronically, via the e-mail addresses set forth
13    
       below.

14
            K2 Employment Law, LLP                          T: (800) 590-7674
15          Douglas H. Hoang, Esq.                          dhoang@k2employmentlaw.com
            Matthew T. Kramer, Esq.                         mkramer@k2employmentlaw.com
16          John Li-Chien, Esq.                             ilin@k2employmentlaw.com
            11751 Zelzah Avenue
17          Granada Hills, California 91344                 Attorneys for Plaintiff, CODY NUTE
18           I am readily familiar with the firm's practice of collection and processing correspondence for
     mailing. Under that practice it would be deposited with the U.S. Postal Service on that same day with
19   postage thereon fully prepaid in the ordinary course of business. I am aware that on motion of the party
     served, service is presumed invalid if postal cancellation date or ppostage meter date is more than one
20   day after date of deposit for mailing in affidavit.
21          I declare under penalty of perjury under the laws of the State of California that the above is true
     and correct.
22
              Executed on 29 September 2021, at Los Angeles, California.
23

24

25

26                                                                    Denise R. Wasko-Peña

27

28


                                DEFENDANT’S ANSWER TO PLAINTIFF’S COMPLAINT
     75480024v.2
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SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
Branch Name: Stanley Mosk Courthouse
Mailing Address: 111 North Hill Street
City, State and Zip Code: Los Angeles CA 90012



SHORT TITLE: CODY NUTE vs PERKINELMER, INC., A MASSACHUSETTS                 CASE NUMBER:
CORPORATION; AND DOES 1 THROUGH 50, INCLUSIVE,                               21STCV17360

         NOTICE OF CONFIRMATION OF ELECTRONIC FILING

The Electronic Filing described by the below summary data was reviewed and accepted by the Superior Court of
California, County of LOS ANGELES. In order to process the filing, the fee shown was assessed.

Electronic Filing Summary Data

Electronically Submitted By: Tristar Software
Reference Number: JTI179532
Submission Number: 21LA04148847
Court Received Date: 09/29/2021
Court Received Time: 11:13 am
Case Number: 21STCV17360
Case Title: CODY NUTE vs PERKINELMER, INC., A MASSACHUSETTS CORPORATION; AND DOES 1
THROUGH 50, INCLUSIVE,
Location: Stanley Mosk Courthouse
Case Type: Civil Unlimited
Case Category: Other Employment Complaint Case
Jurisdictional Amount: Over $25,000
Notice Generated Date: 09/30/2021
Notice Generated Time: 10:21 am

Documents Electronically Filed/Received                 Status

Answer                                                 Accepted




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Submitter's Comments:

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Service Provider: Tristar Software
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Phone: (805) 227-1213



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Case 2:21-cv-07844 DocumentSuperior
                            1 Filed Court 10/01/21
                                          of California Page 48 of 51 Page ID #:48
                                      County of Los Angeles
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                        Receipt       EFM-2021-3844266.1

                        Date:         9/30/21 10:21 AM
                        Time:         9/30/21 10:21 AM
                        CASE # 21STCV17360
                        CODY NUTE vs PERKINELMER, INC., A

                          Unlimited Civil- Ans.non-Plaintiff   435.00
                          incl. UD-
                          GC70612,70602.5,70602.6
                          Court Transaction Fee                  2.25
                                             Case Total:       437.25




                                              Total Paid:      437.25

                        21LA04148847
           Case 2:21-cv-07844 Document 1 Filed 10/01/21 Page 49 of 51 Page ID #:49


Wasko, Denise

From:                          Wasko, Denise
Sent:                          Wednesday, September 29, 2021 11:15 AM
To:                            'dhoang@k2employmentlaw.com'; 'mkramer@k2employmentlaw.com';
                               'ilin@k2employmentlaw.com'
Cc:                            Roberts, Sumithra; Pollaci, Jamie C
Subject:                       Nute v Perkinelmer - Def Spherion Ans to Unv Complaint
Attachments:                   2021-09-29 Nute v Perkinelmer - Def Spherion Ans to Unv Complaint(75552772v1).PDF


Dear Counsel,

At the request of Sumithra Roberts, attached please find Defendant Spherion’s Answer to Plaintiff’s Unverified
Complaint, submitted for filing today. Please let me know if you have any difficulty accessing this document. A
paper copy will follow via US Mail.

Regards,

-D.




                                                       1
                 Case 2:21-cv-07844 DocumentCOURT
                                             1 FiledINSTRUCTIONS
                                                     10/01/21 Page 50 of 51 Page ID #:50
                                                        PHONE (213) 249-9999
                                                        FAX (213) 249-9990


                                                            LA199795
                                                            025 - E-FILING

FIRM NAME: & ADDRESS:                               CUST #: LA239                COURT :
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2029 Century Park East Suite 3500                                                111 N. HILL STREET, LOS ANGELES, CA 90012-3117
Los Angeles CA, 90067                                                            CASE# 21STCV17360
                                                                                 CASE TITLE: CODY NUTE, VS. PERKINELMER, INC., a
PHONE #:(310) 277-7200                                                           MASSACHUS
FAX #: (310) 282-6945
                                                                                 DOCUMENTS: DEFENDANT SPHERION
CONTACT: Denise Wasko-Peña EMAIL: dwasko@seyfarth.com                            STAFFING,LLC’S ANSWER TO
BILLING / FILE #: 099999-000591                                                  PLAINTIFF’SUNVERIFIED COMPLAINT
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   STATUTE DATE: 9/29/2021            HEARING DATE:                      DEPT. 74                         NLS DATE REC'D: 9/29/2021
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                                 https://legalefiling.com/efiling/JTIDisplayOrder.aspx?sessionid=c02e2946-9bd7-46b0-983c-b804465d3d32



                                                   (StatusOnLine.aspx?sessionid=c02e2946-9bd7-46b0-983c-b804465d3d32)




               Subsequent Filing Into Case 21STCV17360 - Order Number 285565-JTI179532
                                                      Envelope Number 21LA04148847
Location:                                                                                               Fee Name                    Amount
                            Stanley Mosk Courthouse

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Case Category:
                            Other Employment Complaint Case

Case Type:
                            Civil Unlimited



  Parties In Case:        Party Type     Party Name                                                                                       Lead Attorney

                          Plaintiff      CODY NUTE                                                                                        Not Applicable

                          Defendant      PERKINELMER, INC., a MASSACHUSETTS corporation; and DOES 1 through 50, inclusive,                Not Applicable

                          Defendant      Spherion Staffing, LLC                                                                           Not Applicable




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                          Code

                          RES010 LA199795.2021-09-29 Nute v Perkinelmer - Def           Answer      Display RES010 (https://s3-us-west-
                                 Spherion Ans to Unv                                                1.amazonaws.com/docs.for.jti/Prod/JTI179532.00001.pdf)
                                 Complaint(75552772v1).PDF




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